                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

The Travelers Indemnity Company,           )
                                           )
                     Plaintiff,            )
                                           )
       v.                                  )   Case No. 4:07-cv-00638
                                           )
Shaffin Ali Mohamed, M.D.,                 )
Stein Pain Management Associates, P.A.,    )
Advanced Rehabilitation & Pain             )   JURY DEMANDED
 Management, P.A.,                         )
Pain Institute of Texas, P.A.,             )
Orthopedic Pain Management, P.A.,          )
                                           )
Collectively “The Mohamed Defendants”      )
                                           )
Nishat Alibhai,                            )
Nizamudin Alibhai,                         )
Mirage Medical Group, Ltd.,                )
Mirage Medical Group – TX, Inc.,           )
Oasis Medical Group, Inc.,                 )
NC Consulting Group, Inc.,                 )
New Frontier Medical Consultants, Inc.,    )
Orange Grove Health Services, Ltd.,        )
Orange Grove Health Services – TX, Inc.,   )
Orange Grove Health Services, Inc.,        )
Renaissance Health Services, Ltd.,         )
Renaissance Health Services – TX, Inc.,    )
Renaissance Health Services, Inc.,         )
Woodward Health Services, Ltd.,            )
Woodward Health Services – TX, Inc.,       )
Woodward Health Services, Inc.,            )
                                           )
Collectively “The Alibhai Defendants”      )
                                           )
Eddie Cerday, M.D.,                        )
Southwest Pain and Injury, P.A.            )
                                           )
Collectively “The Cerday Defendants”       )
                                           )
Johnathon Y. Boyd,                                 )
Satex Management Services, Inc.,                   )
Inner Houston Medical Management, Inc.,            )
Wildwood Medical Management, Inc.,                 )
                                                   )
Collectively “The Boyd Defendants”                 )
                                                   )
Houston Community Hospital, Inc. d/b/a             )
Renaissance Hospital                               )
                                                   )
“The Hospital Defendant”                           )
                                                   )
Khyati Undavia,                                    )
Minu RX, Ltd., d/b/a Plaza Medical Center          )
Pharmacy and Memorial Compounding                  )
Pharmacy, and                                      )
Minu GP, L.L.C.                                    )
                                                   )
Collectively “The Undavia Defendants”              )
                                                   )
Kenneth S. Bayles, D.O.,                           )
Tim Chowdhury, M.D.                                )
John C. McConnell, M.D.,                           )
Will E. Moorehead, M.D.,                           )
Bobby Pervez, M.D.,                                )
Jose Ramon Reyes, M.D.,                            )
Ernest T. Roman, M.D.,                             )
Ihsan Fahmi Shanti, M.D., and                      )
Omar Damaso Vidal, M.D.,                           )
                                                   )
Collectively “The Prescribing Dr. Defendants”      )
                                                   )
                       Defendants.                 )

                             SECOND AMENDED COMPLAINT

       The Travelers Indemnity Company (“Travelers”), for its Second Amended Complaint

against the defendants, alleges as follows:

I.     NATURE OF THE ACTION

       1.      This action seeks to recover more than $4,200,000 that the defendants have stolen

through a mail and common law fraud scheme by submitting, and causing to be submitted, to

Travelers hundreds of fraudulent charges for: (a) nerve block injections (“Nerve Blocks”) that

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were either medically unnecessary or never performed by Shaffin Ali Mohamed (“Dr.

Mohamed”) and Eddie Cerday (“Dr. Cerday”), (b) unlawful facility fees relating to the Nerve

Blocks and other procedures purportedly performed by Drs. Mohamed and Cerday in ambulatory

surgery centers (“ASCs”) and hospitals with which the defendants had illegal and secret

kickback arrangements, (c) medically unnecessary trans-dermal compound gels (“Compounds”)

which were purportedly prescribed for pain relief by Drs. Mohamed, Cerday, Bayles,

Chowdhury, McConnell, Moorehead, Pervez, Reyes, Roman, Shanti, Vidal, and other doctors,

pursuant to illegal and secret kickback arrangements with Minu RX, Ltd. (“Minu RX”) and

Khyati Undavia (“Undavia”), (d) all services rendered by Dr. Mohamed on or after September 1,

2003, regardless of the nature of the service or whether it was medically necessary, based upon

his intentional affirmative concealment of his financial interests in several health care providers

to which he made referrals, which he was required to disclose pursuant to V.T.C.A. Labor Code

§§ 413.041(a)-(c) and 418.001(2), as well as 28 T.A.C. § 180.24(b)(1) and (2), and (e) all

services rendered by Dr. Cerday on or after February 1, 2007, regardless of the nature of the

service or whether it was medically necessary, based upon his intentional affirmative

concealment of his financial interests in Minu RX to which he made referrals, which he was

required to disclose pursuant to V.T.C.A. Labor Code §§ 413.041(a)-(c) and 418.001(2), as well

as 28 T.A.C. §§ 180.24(b)(1) and (2).

       2.      The defendants’ fraud scheme has involved:

       a)      a pattern of fraudulent representations by Drs. Mohamed and Cerday to
               induce Travelers and other insurers into authorizing the performance of
               Nerve Blocks on patients who are eligible for workers’ compensation
               benefits,

       b)      the submission of bills to Travelers and other insurers for the performance
               of Nerve Blocks which were either medically unnecessary or never
               performed, and which have fallen into three distinct patterns over several


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     years, with each iteration of the pattern resulting in significantly greater
     fraudulent charges to Travelers up to more than $15,000 per procedure,

c)   the submission to Travelers and other insurers of cloned Operative
     Reports which indicate that every patient had exactly the same condition,
     needed and received exactly the same Nerve Blocks and had exactly the
     same results—no one improved,

d)   the manipulation of billing codes to maximize the profits from the Nerve
     Blocks, regardless of whether they were performed and necessary, by
     duplicating charges (i.e., using two billing codes and two charges to
     describe and collect twice for one service), unbundling charges (i.e., using
     at least two billing codes and at least two corresponding charges which
     should be bundled together into one code for a lesser charge), and
     charging for related services that were never performed (i.e., placement of
     a medicine pump under a patient’s skin, or representing that six Nerve
     Block injections were made when, in fact, no more than one or two were
     made),

e)   performing the Nerve Blocks and other procedures at ASCs and hospitals
     in which Dr. Mohamed had an undisclosed ownership interest or secret
     and illegal kickback arrangements which enabled him, as well as his
     relatives Nishat Alibhai and Nizamudin Alibhai (“the Alibhais”) or
     Johnathon Boyd (“Boyd”), to secretly, unlawfully and substantially profit
     from the facility fees charged to Travelers and other insurers for each
     procedure,

f)   the creation of Texas and Nevada companies (“the Shell Companies”)
     which Dr. Mohamed, the Alibhais and Boyd formed to secretly,
     unlawfully and substantially profit from the facility fees charged to
     Travelers and other insurers for the Nerve Blocks and other procedures
     purportedly performed by Drs. Mohamed and Cerday at ASCs and
     hospitals,

g)   the use of false and misleading information on bills from the Shell
     Companies to Travelers and other insurers to create the illusion that the
     Shell Companies were seeking to collect facility fees on behalf of the
     ASCs and hospitals that provided the items and services constituting the
     facility component of the Nerve Blocks and other procedures purportedly
     performed by Drs. Mohamed and Cerday,

h)   recruiting and facilitating the efforts of Boyd and Dr. Cerday to continue
     with precisely the same fraud scheme after May 25, 2005, when the Texas
     Workers’ Compensation Commission (“TWCC”) effectively barred Dr.
     Mohamed from collecting workers’ compensation benefits,



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        i)      forming a sham “management” company, Satex Management Services,
                Inc., with Boyd as the nominee officer, director and shareholder, as a ruse
                to funnel to Dr. Mohamed most of the fraudulent proceeds from Dr.
                Cerday’s services, after Dr. Mohamed was barred by the TWCC from
                collecting workers’ compensation benefits,

        j)      thousands of prescriptions by Drs. Mohamed, Cerday, Bayles,
                Chowdhury, McConnell, Moorehead, Pervez, Reyes, Roman, Shanti,
                Vidal, and other doctors, of medically unnecessary Compounds for
                purported pain relief, pursuant to secret and illegal kickbacks amounting
                to millions of dollars from Minu RX and Undavia, who is Dr. Mohamed’s
                ex-wife and business partner,

        k)      the submission to Travelers and other insurers by Minu RX and Undavia
                of thousands of bills for the Compounds with letters of medical necessity
                falsely representing that the Compounds were medically necessary and
                that the Compounds and their ingredients were FDA approved for topical
                use, along with inflated charges based upon misrepresentations regarding
                the suppliers of the ingredients for the Compounds and their average
                wholesale costs, and

        l)      Drs. Mohamed’s and Cerday’s intentional affirmative concealment of
                their financial interests in health care providers to which they made
                referrals, which they were required to disclose pursuant to V.T.C.A.
                Labor Code §§ 413.041(a)-(c) and 418.001(2), as well as 28 T.A.C. §§
                180.24(b)(1) and (2), which barred them from collecting workers’
                compensation benefits for any services that they rendered during their
                period of non-compliance with the disclosure requirements, regardless of
                the nature of the service or whether it was medically necessary.

        3.      The defendants’ scheme began at least seven years ago and has continued

uninterrupted since that time. As a result of this scheme, Travelers has incurred damages of

more than $4,200,000 million.

        4.      Based upon defendants’ material misrepresentations and other affirmative acts to

conceal their fraud from Travelers, which are described in detail below, Travelers did not

discover and should not have reasonably discovered that its damages were attributable to fraud

until shortly before it filed this complaint.




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II.    JURISDICTION AND VENUE

       5.      Pursuant to 28 U.S.C. § 1332(a)(1), this Court has jurisdiction over all claims

because the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and

costs, and is between citizens of different states. Pursuant to 28 U.S.C. § 1331, this Court also

has jurisdiction over the claims brought under 18 U.S.C. § 1961 et seq. (“RICO”) because they

arise under the laws of the United States. Pursuant to 28 U.S.C. § 1367, this Court also has

jurisdiction over the state law claims because they are so related to the RICO claims as to form

part of the same case and controversy.

       6.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the

events or omissions giving rise to the claims occurred in this district. Venue is also proper

pursuant to 18 U.S.C. § 1965(a) and (b) because defendants reside, are found, have an agent and

transact affairs in this district, and the ends of justice require it. In addition, venue is proper in

this judicial district pursuant to 28 U.S.C. § 1409(a).

III.   PARTIES AND THEIR ROLES

       A.      Plaintiff

       7.      Travelers is a Connecticut corporation with its principal place of business in

Hartford, Connecticut.     Travelers is authorized to conduct business and to issue workers’

compensation insurance policies in the State of Texas. Travelers brings this action in its own

right and as assignee of all claims and causes of action set forth herein which belonged to The

Travelers Insurance Company, The Travelers Indemnity Company of Connecticut, The Travelers

Indemnity Company of Illinois, The Travelers Indemnity Company of America, Travelers

Casualty & Surety Company, The Charter Oak Fire Insurance Company, and The Phoenix

Insurance Company, all of which are Connecticut corporations, as well as St. Paul Fire & Marine

Insurance Company, which is a Minnesota corporation, and all of its subsidiaries and affiliates.

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       B.      Defendants

               1.     The Mohamed Defendants

       8.      Shaffin Ali Mohamed is a citizen of and is licensed to practice medicine in the

State of Texas. Dr. Mohamed is a defendant in the First through Eighth Claims for Relief.

       9.      Between 1999 and May 2005, Dr. Mohamed knowingly: (a) induced Travelers

and other insurers to pre-authorize medically unnecessary Nerve Blocks, (b) submitted bills to

Travelers and other insurers for Nerve Blocks that were either medically unnecessary or never

performed, (c) formed Shell Companies with the Alibhais to illegally charge for and profit from

the facility fees paid by Travelers and other insurers for procedures that he purportedly

performed in ASCs and hospitals, including Nerve Blocks that were medically unnecessary or

never performed, through undisclosed ownership interests and secret and illegal kickback

arrangements, (d) prescribed thousands of medically unnecessary Compounds, pursuant to a

secret and illegal kickback arrangements with Minu RX and Undavia who is his former wife and

business partner and (e) submitted charges to Travelers for services rendered after September 1,

2003, despite his intentional and affirmative concealment of the existence and/or true nature of

his financial interest in several health care providers to which he made referrals including, Minu

RX, the Shell Companies, Houston Community Hospital, Inc., and other hospitals and ASCs

which are described below, Chartwell Distributors, Inc., Fountainview Rehab, LLC, Elite MRI,

Inc., Medical Spine Care Clinics of America, Inc., Medical Spine Care Clinic of Houston, Inc.

and Medical Spine Care Clinic of San Antonio, Inc., which rendered him ineligible to collect

workers’ compensation benefits for any service regardless of the nature of the service or whether

it was medically necessary. Dr. Mohamed received more than $9 million as a result of his

undisclosed financial interest in these entities, and continued to affirmatively conceal the



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existence and/or true nature of these interests in documents filed under oath, subject to penalties

of perjury, in his personal divorce and bankruptcy proceedings.

       10.     On May 25, 2005, the TWCC, which is now known as the Division of Workers’

Compensation of the Texas Department of Insurance, issued a notice (“the May 25, 2005

Notice”) to Dr. Mohamed informing him that his application to be on the Approved Doctor List

for workers’ compensation was denied. The May 25, 2005 Notice is attached hereto as Ex. A.

The TWCC randomly reviewed four of Dr. Mohamed’s patient files and concluded, among other

things, that Dr. Mohamed “administered multiple [Nerve Blocks] despite a lack of continued

improvement, as well as a lack of clinical evidence to support their use in all four cases.” In

other words, the TWCC’s conclusions regarding the fraudulent nature of Dr. Mohamed’s Nerve

Block practices are entirely consistent with those of Travelers. As a practical matter, the effect

of the May 25, 2005 Notice was to preclude Dr. Mohamed from collecting workers’

compensation benefits for services rendered to injured employees.

       11.     After May 25, 2005, Dr. Mohamed recruited Dr. Cerday to continue with the

same fraudulent practices and, with the help of Johnathonathan Boyd, to funnel most proceeds

from those practices to Dr. Mohamed disguised as “consulting fees.”

       12.     Stein Pain Management Associates, P.A. (“Stein Pain”) is a professional

association that was organized under the laws of Texas on or about December 14, 2000. Stein

Pain was involuntarily dissolved on November 1, 2005. At all times relevant, Dr. Mohamed was

a member, officer, and director of Stein Pain, and Stein Pain is one of the entities through which

Dr. Mohamed submitted fraudulent charges to Travelers for services, including Nerve Blocks,

that he purportedly performed in Houston, Texas. Stein Pain is a defendant in the First through

Fourth Claims for Relief.



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        13.    Advanced Rehabilitation & Pain Management, P.A. (“Advanced Rehab”) d/b/a

Orthopedic Rehabilitation Institute is a professional association that was organized under the

laws of Texas on or about July 1, 1998. At all times relevant, Dr. Mohamed was a member,

officer, and director of Advanced Rehab, and Advanced Rehab is one of the entities through

which Dr. Mohamed submitted fraudulent charges to Travelers for services, including Nerve

Blocks, that he purportedly performed in McAllen, Texas. Advanced Rehab is a defendant in the

First through Fourth Claims for Relief.

        14.    Pain Institute of Texas, P.A. (“Pain Institute”) is a professional association that

was organized under the laws of Texas on or about March 9, 1995. At all times relevant, Dr.

Mohamed was a member, officer, and director of Pain Institute, and Pain Institute is one of the

entities through which Dr. Mohamed submitted fraudulent charges to Travelers for services,

including Nerve Blocks, that he purportedly performed in Houston, Texas. Pain Institute is a

defendant in the First Through Fourth Claims for Relief, as well as the Sixth and Eighth Claim

for Relief.

        15.    Orthopedic Pain Management, P.A. (“Orthopedic Pain”) is a professional

association that was organized under the laws of Texas on or about March 7, 2003. At all times

relevant, Dr. Mohamed was a member, officer, and director of Orthopedic Pain, and Orthopedic

Pain is one of the entities through which Dr. Mohamed submitted fraudulent charges to Travelers

for services, including Nerve Blocks, that he purportedly performed in San Antonio, Texas and

cities in the Rio Grande Valley. Orthopedic Pain is a defendant in the First through Fourth

Claims for Relief.

        16.    Dr. Mohamed, Stein Pain, Advanced Rehab, Pain Institute, and Orthopedic Pain

were not entitled to collect from Travelers: (a) any charges for Nerve Blocks that were medically

unnecessary or never performed, (b) any duplicative or unbundled charges for Nerve Blocks,

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regardless of whether they were medically necessary, and (c) any charges for any service

performed by Dr. Mohamed on or after September 1, 2003 based upon Dr. Mohamed’s knowing

failure to comply with his obligations to disclose the existence and/or true nature of his financial

interests in several health care providers to which he made referrals, including Minu RX, the

Shell Companies, Houston Community Hospital, Inc., other ASCs and hospitals described

below, Chartwell Distributors, Inc., Fountainview Rehab, LLC, Elite MRI, Inc., Medical Spine

Care Clinics of America, Inc., Medical Spine Care Clinic of Houston, Inc. and Medical Spine

Care Clinic of San Antonio, Inc.

        17.     Dr. Mohamed, Advanced Rehab, Pain Institute and Orthopedic Pain are currently

debtors in a jointly-administered Chapter 11 bankruptcy proceeding. By order dated November

17, 2006, the United States Bankruptcy Court lifted the automatic stay and authorized Travelers

to litigate the claims set forth herein against all the debtors.

                2.      The Alibhai Defendants

        18.     Nishat Alibhai is a citizen of the State of Texas. She is Dr. Mohamed’s niece and

Nizamudin Alibhai’s daughter. She is a defendant in the First through Fourth Claims for Relief,

as well as the Sixth and Eighth Claims for Relief.

        19.     From approximately mid-2002 through at least May 2005, Nishat Alibhai was a

principal advisor and manager for Dr. Mohamed and his businesses, including the formation,

operation and financial accounting for all the Shell Companies and other health care provider

entities to which Dr. Mohamed made referrals. Nishat Alibhai served as a nominee director,

officer and shareholder of: (a) the Shell Companies which had undisclosed ownership interests in

and secret and illegal kickback arrangements with Houston Community Hospital, Inc., and other

hospitals and ASCs in Texas where Dr. Mohamed purportedly performed procedures, including

medically unnecessary Nerve Blocks, so that he and the Alibhais could secretly, unlawfully and

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substantially profit from the facility fees relating to all such procedures, and (b) at least five other

health care providers to which Dr. Mohamed made referrals for MRIs (Elite MRI, Inc.), physical

therapy (Fountainview Rehab, LLC) and Vax-D treatments (Medical Spine Care Clinics of

America, Inc., Medical Spine Care Clinic of Houston, Inc. and Medical Spine Care Clinic of San

Antonio, Inc.), so that he could secretly and substantially profit from the proceeds collected by

those entities for such services without disclosing his financial interest in them.

       20.     Nizamudin Alibhai is a citizen of the State of Texas. He is Dr. Mohamed’s

relative and Nishat Alibhai’s father. He is a defendant in the First through Fourth Claims for

Relief, as well as the Sixth and Eighth Claims for Relief.

       21.     From approximately 2000 through at least May 2005, Nizamudin Alibhai was a

principal advisor to and manager for Dr. Mohamed and all of his businesses, including the

formation, operation and financial accounting for all the Shell Companies and other health care

provider entities for which Nishat Alibhai served as a nominee director, officer and shareholder

to conceal Dr. Mohamed’s financial interest in those entities. Nizamudin Alibhai did so even

after serving a lengthy period of incarceration in the federal correctional system for concealing

his own illegal financial activities. Specifically, on September 29, 1989, in United States v.

Nizamudin Alibhai, 89 CR 00167, he pleaded guilty to conspiring to transport, and transporting,

currency from the United States to another country for use in carrying on an unlawful activity,

without filing required reports of those transactions.

       22.     Until they were replaced by Boyd in approximately May 2005, the Alibhais were

Dr. Mohamed’s chief lieutenants in setting up and overseeing on a daily basis all of Dr.

Mohamed’s operations, including all of the activities described herein.




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               a.      Background for the Creation of the Shell Companies

       23.     From January 1, 2000 through September 1, 2002, Dr. Mohamed secretly owned a

40% interest in Memorial Surgical Center (“Memorial Surgical”), an ASC in Houston, Texas.

Although Dr. Mohamed had agreed to pay Memorial Surgical $1,000,000 in return for his

ownership interest--$50,000 in cash and $950,000 through a promissory note--Dr. Mohamed

never actually paid a cent for this ownership interest.

       24.     Dr. Mohamed performed hundreds of procedures at Memorial Surgical during the

period that he held an ownership interest in that facility, including medically unnecessary Nerve

Blocks. Stein Pain and the Pain Institute submitted charges to Travelers and other insurers for

Dr. Mohamed’s performance of these procedures.            Memorial Surgical, on the other hand,

submitted charges to Travelers and other insurers for the facility fees relating to all such

procedures.

       25.     Dr. Mohamed profited substantially from all such charges by virtue of his

complete ownership of Stein Pain and the Pain Institute and his secret 40% ownership in

Memorial Surgical. In fact, for the years 2000 and 2001 Memorial Surgical distributed millions

of dollars to Dr. Mohamed based upon his 40% interest in that facility.

       26.     Dr. Mohamed continued to perform Nerve Blocks and other procedures at

Memorial Surgical until approximately April 2002. At about that time, the other shareholders in

Memorial Surgical initiated steps to force Dr. Mohamed to relinquish his ownership interest in

that facility so that his interest would not become subject to execution by one of his former

patients who had obtained a $1.7 million dollar malpractice judgment against him in Castro v.

Pain Institute of Texas, P.A. et al., No. 00-28574, 1133rd District Court, Harris County, Texas.

On September 1, 2002, Dr. Mohamed agreed to sell his interest in Memorial Surgical to the



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remaining shareholders in consideration for which the entire $1,000,000 that he had agreed to

pay for that interest was forgiven and he received an additional $150,000 as a final payment.

       27.     Dr. Mohamed and his fellow shareholders in Memorial Surgical affirmatively

concealed Dr. Mohamed’s 40% ownership interest in the facility from licensing authorities. In

fact, Memorial Surgical’s March 2002 application for an ASC license falsely stated that the

applicant, Memorial Surgical Center 2, Ltd. (one of the entities through which Dr. Mohamed

held his ownership interest in Memorial Surgical as of March 2002), was an “individual

proprietorship” and that Philip Salkinder was its sole owner.        Dr. Mohamed’s substantial

ownership interest was not disclosed.

       28.     To continue the concealment of his interest in Memorial Surgical, Dr. Mohamed

did not report on his 2002 federal income tax returns any of the $1,000,000 of his debt which

was forgiven when he relinquished his interest in the facility on September 1, 2002.

Furthermore, in documents filed under penalties of perjury in his personal bankruptcy

proceeding in October 2005, Dr. Mohamed failed to disclose his former interest in Memorial

Surgical.

       29.     Whether viewed as involving free stock or the forgiveness of a $1,000,000 debt,

Dr. Mohamed’s ownership interest constituted unlawful remuneration for Dr. Mohamed’s

patronage of and referrals to Memorial Surgical, in violation of V.T.C.A. Occupations Code §

102.001 and 28 T.A.C. § 180.25. Likewise, the millions of dollars in distributions that he

received from Memorial Surgical while he held that ownership interest constituted kickbacks in

violation of these provisions.

       30.     After Dr. Mohamed was forced to relinquish his undisclosed ownership interest in

Memorial Surgical, he stopped performing Nerve Blocks and other procedures at that facility.

Furthermore, as set forth next, Dr. Mohamed worked with the Alibhais to set up a complex series

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of Shell Companies which would enable Dr. Mohamed and the Alibhais to continue to secretly,

unlawfully and substantially profit from: (a) facility fees for all procedures that he purportedly

performed at hospitals and ASCs, including medically unnecessary Nerve Blocks, and (b)

kickbacks from Minu RX and Undavia based upon thousands of prescriptions for medically

unnecessary Compounds.

               b.      Formation of the Shell Companies With The Asset Protection Group

       31.     In or about the fall of 2002, Dr. Mohamed and the Alibhais paid Asset Protection

Group, Inc. (“APGI”) to create the Shell Companies to facilitate their fraud scheme.

       32.     The principals of APGI were William Reed (“Reed”) and Richard Neiswonger

(“Neiswonger”), both of whom have a checkered past.            In 1997, Reed’s law license was

suspended by the Supreme Court of Colorado based upon his stipulation that he violated several

Colorado Rules of Professional Conduct by engaging in conduct: (a) involving dishonesty, fraud,

deceit or misrepresentation; (b) prejudicial to the administration of justice; (c) adversely

reflecting on his fitness to practice law; and (d) which constitutes the improper practice of law in

the form of a professional corporation or association without complying with the relevant rules.

See People v. Reed, 942 P.2d 1204 (Colo. 1997).

       33.     In 1998, Reed and Neiswonger formed APGI, a Nevada corporation. At the time,

Neiswonger was about to begin serving an 18-month sentence of incarceration based upon his

guilty plea to charges of wire fraud and money laundering in United States v. Neiswonger, Case

No. 4:98CR364RVS. The criminal charges against Neiswonger stemmed from a scam in which

he was deceptively marketing to consumers, in return for approximately $10,000, an opportunity

to earn six-figure incomes by becoming business consultants in the areas of finances and expense

reduction. In addition to his criminal conviction relating to that scam, on April 23, 1997 a

permanent injunction had been entered against Neiswonger in Federal Trade Commission v.

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Neiswonger, et al., Case No. 4:96CV2225SNL (E.D. Mo.), enjoining him and any other person

from engaging in any business activities without written notice to the FTC and the posting of a

performance bond.

       34.    Despite the above-described criminal conviction and permanent injunction,

Neiswonger and Reed formed APGI without notice to the FTC or the posting of a performance

bond. Reed and Neiswonger then marketed the opportunity to consumers to become “asset

protection consultants” to assist clients “wishing to hide assets from potential litigants and

creditors, government agencies and the courts” by hiring APGI to form and act as the agent for

Nevada corporations and offshore business companies. See Federal Trade Commission v.

Neiswonger, et al., 494 F. Supp. 2d. 1067, 1072 (E.D. Mo. 2007). As a result of these activities,

Neiswonger, Reed and APGI were found to be in civil contempt of the above-described 1997

permanent injunction, as well as a temporary restraining order that the court had entered in 2006

prohibiting Reed from, among other things, making any further undisclosed asset transfers. Id.

       35.    Reed is also the author of Bulletproof Asset Protection, and teaches seminars and

sells books on “how to become 100% lawsuit and creditor-proof” using APGI’s “Ultimate Asset

Protection and Financial Privacy System.” That program involves a product called the “Ultimate

Nevada Incorporation Package,” which, as set forth on APGI’s website, includes: (a) a

“prestigious” Nevada business address for the corporation; (b) preparation and filing for a

Federal Tax ID number “without revealing your Social Security Number;” (c) a private Nevada

corporate bank account; and (d) “a nominee officer/director for your corporation, enabling you to

own and control your corporation with total privacy and anonymity.”

       36.    The “Ultimate Nevada Incorporation Package” is exactly what Dr. Mohamed and

the Alibhais purchased from APGI to conceal Dr. Mohamed’s financial interest in the Shell

Companies and to enable him and the Alibhais to secretly and illegally profit from: (a) facility

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fees relating to procedures purportedly performed by Dr. Mohamed at ASCs and hospitals,

including medically unnecessary Nerve Blocks, and (b) Minu RX’s charges for thousands of

prescriptions of medically unnecessary Compounds.

               c.      The Shell Companies’ Structures And Their Secret And Illegal
                       Arrangements With ASCs And Hospitals

       37.     Working with APGI in late 2002 and 2003, Mohamed and the Alibhais created

five sets of Shell Companies to secretly and illegally profit from the facility fees relating to

Nerve Blocks and other procedures performed by Dr. Mohamed at ASCs and hospitals.

       38.     Each set of Shell Companies consisted of: (a) a Texas limited partnership (“the

TX LP”), (b) a Texas corporation (“the TX Corp.”) which was the general partner and 1%

stakeholder in the Texas LP, and (c) a NV corporation (“the NV Corp.”) which was the sole

shareholder of the TX Corp. and the sole limited partner and 99% stakeholder in the Texas LP.

Nishat Alibhai purported to be the sole director, as well as the President and Treasurer, of all the

TX Corps. Reed purported to be the sole director and officer of all the NV Corps, and agreed

that he and APGI would not disclose to any third party the true owner of any of the NV Corps

(i.e., Dr. Mohamed).

       39.     Reed also established bank accounts at the First Bank of Nevada for each of the

NV Corps., identifying himself as the sole signatory for all such accounts. In fact, Reed had no

actual control over or involvement with the accounts. Instead, he provided Dr. Mohamed and the

Alibhais with his signature stamp to enable them to control all deposits and withdrawals for the

accounts.

       40.     The TX LPs either acquired an undisclosed ownership interest in or entered into

secret and illegal “use” agreements with several ASCs and hospitals in Texas. Through these

arrangements, the TX LPs were able to substantially profit from the facility fees arising from all


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procedures performed by Dr. Mohamed, including medically unnecessary Nerve Blocks. In fact,

Dr. Mohamed performed all such procedures only in ASCs and hospitals in which he had a

significant and improper financial incentive for doing so as a result of the undisclosed ownership

interests or secret and illegal “use” agreements.

       41.     The TX LPs funneled the facility fees to Dr. Mohamed and the Alibhais through

disbursements to the TX Corps., the NV Corps. or other entities that were established by Dr.

Mohamed and the Alibhais with nominee directors, officers and shareholders to conceal Dr.

Mohamed’s interest in those companies.

       42.     The “use” agreements that the Shell Companies had with hospitals and ASCs

were virtually identical. The Shell Companies were not licensed to operate a hospital or ASC.

Nevertheless, the “use” agreements permitted the Shell Companies to “use” the operating room

facilities in return for hourly fees that ranged from approximately $1,500 to $3,000 per hour.

The “use” agreements also authorized the Shell Companies to bill all non-governmental payors,

including Travelers, for the facility fees during those hours of “use.” The facility fees routinely

exceeded $6,000 for the procedures purportedly performed by Dr. Mohamed on each patient.

Therefore, if Dr. Mohamed performed procedures on three patients in one hour, the Shell

Companies stood to collect at least $18,000 in facility fees relating to those procedures. The

$15,000 differential between the hourly cost to “use” the facility, and the facility fees that the

Shell Companies stood to collect for the procedures purportedly performed by Dr. Mohamed

during each hour of “use” provided powerful and improper financial incentives for Dr. Mohamed

to patronize the hospitals and ASCs while ensuring those facilities a steady stream of patients

and income.

       43.     The “use” agreements between the Shell Companies and hospitals were illegal for

at least seven reasons. First, the arrangements were illegal on their face under Section 241.003

                                               17
of the Texas Hospital Licensing Law because they allowed the unlicensed Shell Companies to

“use” hospital facilities without a license. Second, the arrangements permitted more than one

entity to “use” the same portion of a hospital facility, in violation of 25 T.A.C. § 133.21. Third,

the arrangements required the hospital licensees to abdicate responsibility for facility fee billing

and collections to the Shell Companies, in violation of V.T.C.A. Health and Safety Code §

311.002 and 25 T.A.C. § 133.46. Fourth, the arrangements were illegal under 25 T.A.C. §

133.21 because the hospitals effectively transferred or assigned their licenses to the Shell

Companies during the hours that the Shell Companies were paying a fee to “use” the hospital

facilities.   Fifth, the arrangements constituted a criminal kickback scheme, in violation of

V.T.C.A. Occupations Code § 102.001, because they enabled the Shell Companies to capture

and funnel the significant differential between the fees paid by the Shell Companies to the

hospitals for each hour of “use” and the facility fees that the Shell Companies stood to collect for

that “use” to Dr. Mohamed as remuneration for his patronage of the hospitals and the patients

that he referred. Sixth, for the same reasons, the arrangements provided unlawful remuneration

and inducements to Dr. Mohamed in return for his referrals to the hospitals, pursuant to 28

T.A.C. § 180.25. Seventh, by vesting the Shell Companies with the right to bill and collect the

facility fees for procedures purportedly performed by Dr. Mohamed, the arrangements violated

28 T.A.C. §§ 133.20(d) and (e) (post May 2, 2006) and § 134.801(e) (from July 15, 2000 through

May 1, 2006).

        44.     The “use” agreements between the Shell Companies and ASCs were illegal for at

least eight reasons. First, the arrangements were illegal on their face under Section 243 of the

Texas Ambulatory Surgery Center Act because they enabled the unlicensed Shell Companies to

operate the ASCs without a license. Second, the arrangements permitted more than one entity to

“use” the same ASC facility, in violation of 25 T.A.C. § 135.23. Third, the arrangements

                                              18
required the ASC licensees to abdicate responsibility for facility fee billing and collections to the

Shell Companies, in violation of 25 T.A.C. § 135.4(j). Fourth, the arrangements were illegal

under 25 T.A.C. § 135.23 because the ASCs effectively transferred and assigned their licenses to

the Shell Companies during the hours that the Shell Companies were paying to “use” the

facilities.   Fifth, the ASCs unlawfully ceded control over surgeries conducted in the ASC

facilities to the Shell Companies, in violation of 25 T.A.C. § 135.19. Sixth, the arrangements

constitute a criminal kickback scheme, in violation of V.T.C.A. Occupations Code § 102.001,

because they enabled the Shell Companies to capture and funnel the significant differential

between the fees paid by the Shell Companies to the ASCs for each hour of “use” and the facility

fees that Shell Companies stood to collect for that “use” to Dr. Mohamed as remuneration for his

patronage of the ASCs and the patients that he referred. Seventh, for the same reasons, the

arrangements provided unlawful remuneration and inducements to Dr. Mohamed in return for his

referrals to the ASCs, pursuant to 28 T.A.C. § 180.25. Eighth, by vesting the Shell Companies

with the right to bill and collect the facility fees for procedures purportedly performed by Dr.

Mohamed, the arrangements violated 28 T.A.C. §§ 133.20(d) and (e) (post May 2, 2006) and §

134.801(e) (from July 15, 2000 through May 1, 2006).

        45.     Dr. Mohamed, the Alibhais, the ASCs and the hospitals knew that the above

described “use” arrangements were illegal and that only health care providers, such as the

licensed hospitals and ASCs which provided the goods or services upon which the facility fees

were based were entitled to charge for or collect workers’ compensation benefits, pursuant to 28

T.A.C. §§ 133.20(d) (post-May 2, 2006) and 134.801(e) (from July 15, 2000 through May 1,

2006). In fact, when these regulations were adopted, the TWCC explained that their purpose was

to prohibit “the practice whereby one entity pays a reduced fee to the health care provider that

provided the treatment(s) and/or service(s), then bills the workers’ compensation insurance

                                               19
carrier a higher fee. This practice increases cost to the system without adding value to the

system. . .” 25 Tex. Reg. 2140 (March 10, 2000). Therefore, Dr. Mohamed, the Alibhais, the

ASCs and hospitals agreed that they would not voluntarily disclose to any third party the

existence or terms of the kickback arrangements with the Shell Companies.        In fact, that

concealment continues to this very day. Specifically, counsel for Houston Community Hospital,

Inc. on November 7, 2007 informed this Court on the record that that his client denied the

existence of any such agreement with Dr. Mohamed, the Alibhais or the Shell Companies. In

fact, Houston Community Hospital, Inc. has had at least one such agreement (which is attached

hereto as Ex. B) and received more than $245,000 pursuant to that agreement from one of the

Shell Companies, Woodward Ltd. between May 2002 and October 2004.

       46.    In September 2003, within two months after Dr. Mohamed filed for a divorce

from his then-wife Deborah Mohamed, the shares of the NV Corps were transferred into two

Delaware Trusts (“the Trusts”). On paper, the sole beneficiary of these Trusts was Nishat

Alibhai and the second trustee was Nizamudin Alibhai. In fact, Dr. Mohamed continued to be

the major—albeit undisclosed—beneficiary of the income being funneled to the NV Corps while

they were held in the Trusts. Dr. Mohamed and the Alibhais arranged to transfer the NV Corps.

into the Trusts, in part, to unlawfully impair and impede the ability of Deborah Mohamed to

discover the existence of and Dr. Mohamed’s continuing stream of income from the NV Corps.

which continued to profit from the secret and illegal financial arrangements with ASCs and

hospitals around the State of Texas, as well as with Minu RX.

       47.    Dr. Mohamed, with the help of the Alibhais, continued to affirmatively conceal

his ownership interests in and substantial revenue stream from the Shell Companies: (a) in

February 2005 when he knowingly filed under oath in his divorce proceedings with Deborah

Mohamed in the Harris County District Court, 247th Judicial District, a false inventory of his

                                            20
assets which did not disclose such interests or income, and (b) in October 2005 when he

knowingly filed in his personal bankruptcy proceedings in the United States Bankruptcy Court

for the Southern District of Texas, under penalty of perjury, false original and amended

statements of financial affairs and schedules of assets and liabilities which did not disclose such

interests or income.

       48.     The Shell Companies are defendants in the First through Fourth Claims for Relief,

and the specific circumstances regarding the fives sets of Shell Companies that Dr. Mohamed

and the Alibhais created with APGI in late 2002 and 2003 to secretly and illegally profit from the

facility fees relating to Nerve Blocks and other procedures performed by Dr. Mohamed at ASCs

and hospitals are described next.

                       1.     The Brompton Medical Shell Companies

       49.     Brompton Medical Group, Ltd. (“Brompton Ltd.”) was formed as a limited

partnership under the laws of Texas on or about November 26, 2002, with its principal place of

business at 22 Waugh Drive in Houston, TX.

       50.     Brompton Medical Group—TX, Inc. (“Brompton TX”) was incorporated under

the laws of Texas on or about November 20, 2002, with its principal place of business at 22

Waugh Drive in Houston, TX. Brompton TX was the general partner and 1% stakeholder in

Brompton Ltd. Nishat Alibhai purported to be the sole director, as well as the President and

Treasurer of Brompton TX.

       51.     Brompton Medical Group, Inc. (“Brompton NV”) was incorporated under the

laws of Nevada on or about October 1, 2002, with its principal place of business at 4601 West

Sahara Avenue, Suite I, Las Vegas, Nevada 89102. Brompton NV was the sole shareholder of

Brompton TX, and Reed purported to be the sole officer and director of Brompton NV. In fact,



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Dr. Mohamed was the undisclosed owner, and he and the Alibhais were the beneficiaries of,

Brompton NV. Its corporate status was revoked on December 1, 2005.

       52.     Brompton Ltd., Brompton TX and Brompton NV were created to enable Dr.

Mohamed and the Alibhais to secretly and illegally profit from an undisclosed, substantial

ownership interest in Cypress Ambulatory Surgery Center (“Cypress ASC”) in Houston TX.

       53.     In approximately August 2002, Dr. Mohamed paid approximately $1,000 per

share for 24 limited partnership shares in Cypress Surgery Associates, LLP which owned the

Cypress ASC.     Shortly thereafter, Dr. Mohamed and the Alibhais formed Brompton Ltd.,

Brompton TX and Brompton NV. They then caused Dr. Mohamed’s shares in Cypress Surgery

Associates, LLP to be transferred to Brompton Ltd. for “$10 and other valuable consideration.”

Brompton Ltd. then held and benefited from those shares until July 21, 2003 when Dr.

Mohamed, Cypress Surgery Associates, LLP and one of its founders, Dr. Robert Bell, entered

into an agreement terminating their relationship with a full and final distribution of $525,000 to

Brompton, Ltd.

       54.     Neither Dr. Mohamed’s nor Brompton Ltd.’s ownership interest in Cypress

Surgery Associates, LLP was ever disclosed to the Texas Department of Health, Division of

Ambulatory Surgical Center Licensing, in the applications for the issuance or renewal of the

license to operate the Cypress ASC. Furthermore, in documents filed under penalties of perjury

in his personal bankruptcy proceeding in October 2005, Dr. Mohamed failed to disclose his

former interest in Cypress Surgery Associates, LLP.

       55.     From approximately August 2002 through July 2003, Dr. Mohamed performed

most, if not all, Nerve Blocks and other procedures on his Houston patients at the Cypress ASC.

During that period, Cypress Surgery Associates LLP disbursed more than $1.6 million to

Brompton, Ltd. Furthermore, in a personal financial statement for the calendar year 2002, Dr.

                                             22
Mohamed valued his personal interest in the Cypress ASC at $14.4 million. The relevant pages

from Dr. Mohamed’s personal financial statement are attached hereto as Ex. C.

                     2.      The Woodward Health Shell Companies

       56.    Woodward Health Services, Ltd. (“Woodward Ltd.”) was formed as a limited

partnership under the laws of Texas on or about December 31, 2002, with its principal place of

business at 22 Waugh Drive in Houston, TX.

       57.    Woodward Health Services—TX, Inc. (“Woodward TX”) was incorporated under

the laws of Texas on or about December 31, 2002, with its principal place of business at 22

Waugh Drive in Houston, TX. Woodward TX was the general partner and 1% stakeholder in

Woodward Ltd. Nishat Alibhai purported to be the sole director, as well as the President and

Treasurer of Woodward TX.

       58.    Woodward Health Services, Inc. (“Woodward NV”) was incorporated under the

laws of Nevada on or about November 18, 2002, with its principal place of business at 4601

West Sahara Avenue, Suite I, Las Vegas, Nevada 89102.           Woodward NV was the sole

shareholder of Woodward TX, and Reed purported to be the sole officer and director of

Woodward NV. In fact, Dr. Mohamed was the undisclosed owner, and he and the Alibhais were

the beneficiaries, of Woodward NV. Its corporate status was revoked on December 1, 2005.

       59.    Woodward Ltd., Woodward TX and Woodward NV were created to enable Dr.

Mohamed and the Alibhais to illegally profit through secret kickback arrangements with Houston

Community Hospital, Inc. which is licensed to operate the Houston Community Hospital (which

on December 31, 2004 became known as Renaissance Hospital) in Houston, TX (“HCH”). That

kickback arrangement began as early as May 2002, and Dr. Mohamed’s referrals to HCH grew

significantly in approximately the spring of 2003, at about the time that Dr. Mohamed, the

Alibhais and Brompton Ltd. were terminating their relationship with Cypress ASC.

                                             23
       60.    Specifically, in May 2002, HCH paid Dr. Mohamed at least $25,000 purportedly

for “OR Director” services.    This characterization was false.    Dr. Mohamed was not the

Operating Room Director for HCH, and provided no such services. This payments was an

unlawful kickback to compensate Dr. Mohamed for his patronage and the patients that he

referred to HCH for procedures, including medically unnecessary Nerve Blocks. HCH then

submitted charges to Travelers and other insurers for the facility fees relating to all such

procedures.

       61.    In early 2003, when Dr. Mohamed and Cypress ASC were terminating their

relationship, Dr. Mohamed resumed his unlawful kickback arrangement with HCH. Specifically,

on or about February 15, 2003, HCH entered into a secret and illegal kickback arrangement with

Woodward, Ltd. (“the HCH Use Agreement”). The HCH Use Agreement is attached hereto as

Ex. B. Pursuant to the HCH Use Agreement, Woodward Ltd. agreed to pay HCH $2,000 an hour

to “use” HCH’s operating room facilities. In return, HCH agreed to allow Woodward Ltd. to bill

all non-governmental payors, including Travelers, for the facility fees relating to Nerve Blocks

and other procedures purportedly performed by Dr. Mohamed.          The facility fees billed to

Travelers for Nerve Blocks that Dr. Mohamed purportedly performed on each patient at HCH

were typically more than $8,000. Therefore, if Dr. Mohamed performed Nerve Blocks on three

patients per hour, Woodward Ltd. stood to collect facility fees of at least $24,000. In this

scenario, Woodward Ltd. would stand to collect $22,000 an hour more than its cost for each hour

that it was allowed to “use” HCH’s operating room facilities. From at least may 2002 through

October 2004, Woodward Ltd. paid Houston Community Hospital, Inc. at least $245,000 for the

“use” of HCH’s operating room facilities.

       62.    Since approximately May 2002, Travelers has been fraudulently induced to pay

Woodward Ltd. more than $320,000 for facility fees relating to procedures purportedly

                                            24
performed by Dr. Mohamed at HCH. Woodward Ltd. did not provide any of the items or

services upon which the facility fees were based for any procedure purportedly performed by Dr.

Mohamed at HCH. Therefore, Woodward Ltd. had no authority to charge for or receive facility

fees from Travelers or any other insurer for any such procedures, regardless of the nature of the

item or service or whether they were medically necessary.

       63.    To mislead Travelers and other insurers to believe that Woodward Ltd. was

collecting facility fees on behalf of HCH, Dr. Mohamed and the Alibhais typically submitted the

bills from “Woodward Health Service @ Houston Community Hospital,” used an address of PO

Box 4824, Houston, TX 77210-4824 which had no obvious connection to Dr. Mohamed or the

Alibhais, and used HCH’s “Provider No.” of 450795 on the bills. A representative bill from

Woodward Ltd. is attached hereto as Ex. D.

       64.    In addition to allowing Woodward Ltd. to fraudulently bill Travelers and other

payors for the facility fees relating to Nerve Blocks and other procedures purportedly performed

by Dr. Mohamed at HCH, in at least 9 instances both HCH and Woodward Ltd. billed Travelers

for the facility fees relating to Nerve Blocks and other procedures purportedly performed by Dr.

Mohamed. This amounted to double billing. For example, in claim no. BOV9906, HCH billed

Travelers $8,005 for the facility fees relating to a Nerve Block purportedly performed by Dr.

Mohamed on November 17, 2004 at HCH. Woodward Ltd. also billed Travelers $6,800 for the

facility fees relating to the same procedures on the same patient on that date. This fraudulent

double billing of facility fees by Woodward Ltd. and HCH also occurred one or more times in

claims nos. AGH1345, AGH2216, ANQ8299, B5Z6297 and BOV9906.

       65.    As recently as four weeks ago, on November 6, 2007, HCH attempted to double

bill Travelers for facility fees relating to Nerve Blocks and other procedures that Dr. Mohamed

purportedly had performed at HCH in 2003 and 2004. Specifically, on or about November 6,

                                             25
2007, HCH submitted $500 charges to Travelers for “OR Services” relating to at least 12 Nerve

Blocks and other procedures that Dr. Mohamed purportedly had performed at HCH in 2003 and

2004, and for which Woodward Ltd. already had billed Travelers.

                      3.       The Renaissance Health Shell Companies

        66.    Renaissance Health Services, Ltd. (“Renaissance Ltd.”) was formed as a limited

partnership under the laws of Texas on or about October 1, 2003, with its principal place of

business at 22 Waugh Drive in Houston, TX.

        67.    Renaissance Health Services—TX, Inc. (“Renaissance TX”) was incorporated

under the laws of Texas on or about December 26, 2002, with its principal place of business at

22 Waugh Drive in Houston, TX. Renaissance TX was the general partner and 1% stakeholder

in Renaissance Ltd. Nishat Alibhai purported to be the sole director, as well as the President and

Treasurer of Renaissance TX.

        68.    Renaissance Health Services, Inc. (“Renaissance NV”) was incorporated under

the laws of Nevada on or about October 1, 2002, with its principal place of business at 4601

West Sahara Avenue, Suite I, Las Vegas, Nevada 89102.            Renaissance NV was the sole

shareholder of Renaissance TX, and Reed purported to be the sole officer and director of

Renaissance NV. In fact, Dr. Mohamed was the undisclosed owner, and he and the Alibhais

were the beneficiaries, of Renaissance NV. Its corporate status was revoked on December 1,

2005.

        69.    Renaissance Ltd., Renaissance TX and Renaissance NV were created to enable

Dr. Mohamed and the Alibhais to illegally profit through secret kickback arrangements with the

Renaissance Surgical Center of South Texas in McAllen, TX (“Renaissance ASC”) and North

Point Surgical Center in Edinburg, TX (“North Point ASC”).



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        70.     Specifically, from at least January 2004 though July 2004, Renaissance Ltd. paid

Renaissance ASC an hourly fee that resulted in monthly payments of $10,000 to $15,000 to use

its operating room facilities. In return, Renaissance ASC agreed to allow Renaissance Ltd. to bill

all non-governmental payors, including Travelers, for the facility fees relating to Nerve Blocks

and other procedures purportedly performed by Dr. Mohamed.             The facility fees billed to

Travelers for Nerve Blocks that Dr. Mohamed purportedly performed on each patient at

Renaissance ASC were typically more than $8,000. Therefore, if Dr. Mohamed performed

Nerve Blocks on five patients per month, Renaissance Ltd. stood to collect facility fees of at least

$40,000. In this scenario, Renaissance Ltd. would likely stand to collect at least $25,000 per

month more than its cost for each month that it was allowed to “use” Renaissance ASC’s

operating room facilities.

        71.     On information and belief, Renaissance Ltd. had a similar secret and illegal

agreement to pay North Point ASC an hourly fee to “use” its facility. In return, North Point ASC

agreed to allow Renaissance Ltd. to bill and collect the facility fees for Nerve Blocks and other

procedures performed by Dr. Mohamed during the times that Renaissance Ltd. paid the hourly

fee to “use” the facility.

        72.     Since approximately January 2004, Travelers has been fraudulently induced to

pay Renaissance Ltd. more than $19,000 for facility fees relating to procedures purportedly

performed by Dr. Mohamed at Renaissance ASC and North Point ASC. Renaissance Ltd. did

not provide any of the items or services upon which the facility fees were based for any

procedure purportedly performed by Dr. Mohamed at Renaissance ASC and North Point ASC.

Therefore, Renaissance Ltd. had no authority to charge for or receive facility fees from Travelers

or any other insurer for any such procedures, regardless of the nature of the item or service or

whether they were medically necessary.

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       73.     To mislead Travelers and other insurers to believe that Renaissance Ltd. was

collecting facility fees on behalf of Renaissance ASC, Dr. Mohamed and the Alibhais typically

submitted the bills from “Renaissance Health Services @ Renaissance Surgical Center of South

Texas,” or Renaissance Health Services @ North Point Surgical, used an address of PO Box

4253, Houston, TX 77210-4253 which had no obvious connection to Dr. Mohamed or the

Alibhais, and used the “Provider Nos.” of Renaissance ASC and North Point ASC on the bills.

A representative bill from Renaissance Ltd. is attached hereto as Ex. E.

                      4.      The Mirage Medical Shell Companies

       74.     Mirage Medical Group, Ltd. (“Mirage Ltd.”) was formed as a limited partnership

under the laws of Texas on or about January 3, 2003, with its principal place of business at 22

Waugh Drive in Houston, TX.

       75.     Mirage Medical Group—TX, Inc. (“Mirage TX”) was incorporated under the

laws of Texas on or about December 27, 2002, with its principal place of business at 22 Waugh

Drive in Houston, TX. Mirage TX was the general partner and 1% stakeholder in Mirage Ltd.

Nishat Alibhai purported to be the sole director, as well as the President and Treasurer of Mirage

TX.

       76.     Oasis Medical Group, Inc. (“Oasis NV”) was incorporated under the laws of

Nevada on or about October 1, 2002, with its principal place of business at 4601 West Sahara

Avenue, Suite I, Las Vegas, Nevada 89102. Oasis NV was the sole shareholder of Mirage TX,

and Reed purported to be the sole officer and director of Oasis NV. In fact, Dr. Mohamed was

the undisclosed owner, and he and the Alibhais were the beneficiaries of, Oasis NV.            Its

corporate status was revoked on December 1, 2005.

       77.     Mirage Ltd., Mirage TX and Oasis NV were created to enable Dr. Mohamed and

the Alibhais to illegally profit through secret kickback arrangements with Gonzaba Ambulatory

                                              28
Surgery Center (“Gonzaba ASC”) and St. Jude’s Ambulatory Surgery Center (“St. Jude’s ASC”)

in San Antonio, TX.

       78.     Specifically, from at least December 2003 through October 2004, Mirage Ltd.

paid $2,800 an hour to “use” Gonzaba ASC’s operating room facilities. In return, Gonzaba ASC

allowed Mirage Ltd. to bill all non-governmental payors, including Travelers, for the facility fees

relating to Nerve Blocks and other procedures purportedly performed by Dr. Mohamed. The

facility fees billed to Travelers for Nerve Blocks that Dr. Mohamed purportedly performed on

each patient at Gonzaba ASC were typically more than $9,500. Therefore, if Dr. Mohamed

performed Nerve Blocks on three patients per hour, Mirage Ltd. stood to collect facility fees of at

least $28,500. In this scenario, Mirage Ltd. would stand to collect approximately $26,000 an

hour more than its cost for each hour that it was allowed to “use” Gonzaba ASC’s operating

room facilities.

       79.     The arrangement between Mirage Ltd. and the Gonzaba ASC ended in

approximately October 2004. During their relationship, Mirage Ltd. paid at least $195,000 for

the “use” of Gonazaba ASC’s operating room facilities.

       80.     To continue to enable Dr. Mohamed and the Alibhais to secretly and illegally

profit from surgical procedures performed by Dr. Mohamed in San Antonio after the relationship

with Gonzaba ASC terminated, Mirage Ltd. entered into an agreement with St. Jude’s ASC

which was virtually identical to the arrangement that Mirage Ltd. had with Gonzaba ASC. The

primary difference was that Mirage Ltd. was required to pay St. Jude’s ASC only $1,500 per

hour for the “use” of its operating room facility. In return, St. Jude’s ASC allowed Mirage Ltd.

to bill all non-governmental payors, including Travelers, for the facility fees relating to Nerve

Blocks and other procedures purportedly performed by Dr. Mohamed. The facility fees billed to

Travelers for Nerve Blocks that Dr. Mohamed purportedly performed on each patient at St.

                                              29
Jude’s ASC were typically more than $6,000. Therefore, if Dr. Mohamed performed Nerve

Blocks on three patients per hour, Mirage Ltd. stood to collect facility fees of at least $18,000.

In this scenario, Mirage Ltd. would stand to collect approximately $16,500 an hour more than its

cost for each hour that it was allowed to “use” St. Jude’s ASC’s operating room facilities. The

agreement with St. Jude’s ASC remained in place until approximately June 2005 which is about

when that facility was sold to a new owner who refused to continue with the arrangement.

       81.     Since approximately early 2004, Travelers has been fraudulently induced to pay

Mirage Ltd. more than $95,000 for facility fees relating to procedures purportedly performed by

Dr. Mohamed at Gonzaba ASC and St. Jude’s ASC. Mirage Ltd. did not provide any of the

items or services upon which the facility fees were based for any procedure purportedly

performed by Dr. Mohamed at Gonzaba ASC or St. Jude’s ASC. Therefore, Mirage Ltd. had no

authority to charge for or receive facility fees from Travelers or any other insurer for any such

procedures, regardless of the nature of the item or service or whether they were medically

necessary.

       82.     To mislead Travelers and other insurers to believe that Mirage Ltd. was collecting

facility fees on behalf of Gonzaba ASC or St. Jude’s ASC, Dr. Mohamed and the Alibhais

typically submitted the bills from “Mirage Medical Group @ Gonzaba Ambulatory Surgery

Center,” or “Mirage Medical Group @ St. Jude’s Ambulatory Surgery Center,” used an address

of PO Box 4253, Houston, TX 77210-4253 which had no obvious connection to Dr. Mohamed or

the Alibhais, and used a fictitious and meaningless “Provider No.” of “ASC113” for Gonazaba

ASC. A representative bill from Mirage Ltd. is attached hereto as Ex. F.




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                      5.     The Orange Grove Shell Companies

        83.   Orange Grove Health Services, Ltd. (“Orange Grove Ltd.”) was formed as a

limited partnership under the laws of Texas on or about April 16, 2003, with its principal place

of business at 22 Waugh Drive in Houston, TX.

        84.   Orange Grove Health Services—TX, Inc. (“Orange Grove TX”) was incorporated

under the laws of Texas on or about April 16, 2003, with its principal place of business at 22

Waugh Drive in Houston, TX. Orange Grove TX was the general partner and 1% stakeholder in

Orange Grove Ltd. Nishat Alibhai purported to be the sole director, as well as the President and

Treasurer of Orange Grove TX.

        85.   Orange Grove Health Services, Inc. (“Orange Grove NV”) was incorporated

under the laws of Nevada on or about November 18, 2002, with its principal place of business at

4601 West Sahara Avenue, Suite I, Las Vegas, Nevada 89102. Orange Grove NV was the sole

shareholder of Orange Grove TX, and Reed purported to be the sole officer and director of

Orange Grove NV. In fact, Dr. Mohamed was the undisclosed owner, and he and the Alibhais

were the beneficiaries, of Orange Grove NV. Its corporate status was revoked on December 1,

2005.

        86.   Orange Grove Ltd., Orange Grove TX and Orange Grove NV were created to

enable Dr. Mohamed and the Alibhais to illegally profit through secret kickback arrangements

with the Orange Medical Ambulatory Surgery Center in McAllen, TX (“Orange ASC”).

        87.   Specifically, from approximately mid 2003 through early 2004, Orange Grove

Ltd. or Orange Grove TX paid $300 per patient to “use” Orange ASC’s operating room facilities.

In return, Orange ASC allowed Orange Ltd. to bill all non-governmental payors, including

Travelers, for the facility fees relating to Nerve Blocks and other procedures purportedly

performed by Dr. Mohamed. The facility fees billed to Travelers for Nerve Blocks that Dr.

                                            31
Mohamed purportedly performed on each patient at Orange ASC were typically more than

$8,800. Therefore, if Dr. Mohamed performed Nerve Blocks on three patients per day, Orange

Grove Ltd. stood to collect facility fees of at least $26,400. In this scenario, Orange Grove Ltd.

would stand to collect approximately $25,500 per day more than the amount that it or Orange

Grove TX paid for each day that it was allowed to “use” Orange ASC’s operating room facilities.

       88.     Since approximately the spring of 2003, Travelers has been fraudulently induced

to pay Orange Grove Ltd. more than $19,000 for facility fees relating to procedures performed

by Dr. Mohamed at Orange ASC. Orange Grove Ltd. did not provide any of the items or

services upon which the facility fees were based for any procedure purportedly performed by Dr.

Mohamed at Orange ASC. Therefore, Orange Grove Ltd. had no authority to charge for or

receive facility fees from Travelers or any other insurer for any such procedures, regardless of

the nature of the item or service or whether they were medically necessary.

       89.     To mislead Travelers and other insurers to believe that Orange Grove Ltd. was

collecting facility fees on behalf of the Orange ASC, Dr. Mohamed and the Alibhais typically

submitted the bills from “Orange Grove Health Services @ Orange Medical Ambulatory Surgery

Center,” used an address of PO Box 4253, Houston, TX 77210-4253 which had no obvious

connection to Dr. Mohamed or the Alibhais, and used a fictitious and meaningless “Provider

No.” of “B24963.” A representative bill is attached hereto as Ex. G.

               c.     Shell Companies Created To Conceal Mohamed’s Interest in Minu
                      RX

       90.     NC Consulting Group, Inc. (“NC Consulting”) was incorporated under the laws of

Texas on or about March 7, 2002, with its principal place of business at 22 Waugh Dr., Houston,

Texas. At all times relevant, Nishat Alibhai purported to be the President, Treasurer and sole

director of NC Consulting. In fact, Dr. Mohamed was the undisclosed owner, and he and the


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Alibhais were the beneficiaries, of NC Consulting. NC Consulting is a defendant in the Sixth

and Eighth Claims for Relief.

          91.   New Frontier Medical Consultants, Inc. (“New Frontier NV”) was incorporated

under the laws of Nevada on or about October 1, 2002, with its principal place of business at

4816 West Sahara Avenue, Suite 377 in Las Vegas, Nevada. Reed purported to be the sole

officer and director of New Frontier NV. In fact, Dr. Mohamed was the undisclosed owner, and

he and the Alibhais were the beneficiaries, of New Frontier NV. Its corporate status was revoked

on December 1, 2005. New Frontier NV is a defendant in the Sixth and Eighth Claims for

Relief.

          92.   Dr. Mohamed and the Alibhais created and used NC Consulting and New Frontier

NV as Shell Companies to secretly funnel kickbacks from Minu RX and Undavia to Dr.

Mohamed and the Alibhais based upon money fraudulently collected from Travelers and other

insurers from thousands of prescriptions of medically unnecessary Compounds.

          93.   In September 2003, within 2 months after Dr. Mohamed filed for a divorce from

his then-wife Deborah Mohamed, the shares of NC Consulting and New Frontier NV were

transferred into the Trusts, the sole beneficiary and second trustee of which were Nishat Alibhai

and Nizamudin Alibhai, respectively. In fact, Dr. Mohamed continued to be the major—albeit

undisclosed--beneficiary of any income being funneled to NC Consulting or New Frontier NV

while they were held in the Trusts. Dr. Mohamed and the Alibhais arranged to transfer these

companies into the Trusts, in part, to unlawfully impair and impede the ability of Deborah

Mohamed to discover the existence of and Dr. Mohamed’s continuing stream of income from

them as a result of the secret and illegal financial arrangements with Minu RX and Undavia.

          94.   Dr. Mohamed, with the help of the Alibhais, continued to affirmatively conceal

his ownership interests in and substantial revenue stream from Minu RX, NC Consulting and

                                             33
New Frontier, NV in October 2005 when he knowingly filed, under penalty of perjury, false

statements of financial affairs and schedules of assets and liabilities which did not disclose such

interests or income.

       95.     Undavia’s actions to enable Dr. Mohamed to affirmatively conceal his ownership

interest in substantial revenue stream from Minu RX are continuing. Between March and May

2007, Minu RX and Undavia issued at least three checks to Dr. Mohamed for a total of $25,000,

which Dr. Mohamed proceeded to deposit into a bank account that he opened in March 2007 at

the Redstone Bank and knowingly failed to disclose to the trustee, Travelers and other creditors

in his bankruptcy proceeding.

       3.      The Cerday Defendants

       96.     Eddie Cerday is a citizen of and is licensed to practice medicine in the State of

Texas. Dr. Cerday is a defendant in the First through Fourth Claims for Relief, as well as the

Sixth and Eighth Claims for Relief.

       97.     In June 2005, after the TWCC barred Dr. Mohamed from collecting workers’

compensation benefits, Dr. Mohamed recruited Dr. Cerday to continue the fraud scheme by: (a)

inducing Travelers to pre-authorize the same medically unnecessary Nerve Blocks, (b)

performing those Nerve Blocks and other procedures at the same ASCs and hospitals with which

Dr. Mohamed had the secret and unlawful kickback arrangements, which enabled Dr. Mohamed

to continue to substantially profit from the facility fees charged to Travelers and other insurers

for each purported Nerve Block and other procedure performed by Dr. Cerday at those facilities,

(c) submitting the same fraudulent charges for these procedures which were either medically

unnecessary or never performed, (d) prescribing the same medically unnecessary Compounds,

pursuant to a secret and illegal kickback arrangement with Minu RX and Khyati Undavia, (e)

submitting charges to Travelers for any service rendered after February 1, 2007, despite his

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intentional and affirmative concealment of his financial interest in Minu RX, which rendered him

ineligible to collect workers’ compensation benefits for any service regardless of the nature of

the service or whether it was medically necessary, and (f) funneling most of the proceeds

collected from his services to Dr. Mohamed through payments to Satex Management Services,

Inc. for fictitious “management” and “consulting” services which, in turn, paid Dr. Mohamed

ostensibly to assist in those purported services.

       98.     Southwest Pain and Injury, P.A. (“Southwest Pain”) is a professional association

that was organized under the laws of Texas on or about June 13, 2005, with its principal places

of business at 6228 Bandera Rd. in San Antonio, TX and 2918 San Jacinto in Houston, TX.

These addresses are the same locations where Dr. Mohamed had purportedly provided services

to patients until he was removed from the Approved Doctor List in May 2005. At all times

relevant, Dr. Cerday was a member, officer, and director of Southwest Pain and is the entity

through which Dr. Cerday submitted fraudulent charges to Travelers for services, including

Nerve Blocks that he purportedly performed in Houston and San Antonio, Texas. Southwest

Pain is a defendant in the First through Fourth Claims for Relief.

       99.     Dr. Cerday and Southwest Pain were not entitled to collect from Travelers: (a)

any charges for Nerve Blocks that were medically unnecessary or never performed, (b) any

duplicative or unbundled charges for Nerve Blocks, regardless of whether they were medically

necessary, and (c) any charges for any service performed by Dr. Cerday on or after February 1,

2007 based upon Dr. Cerday’s knowing failure to comply with his obligations to disclose his

financial interests in Minu RX to which he made referrals for medically unnecessary

Compounds.




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       4.     The Boyd Defendants

       100.   Johnathon Boyd, (“Boyd”) is a citizen of and was licensed to practice chiropractic

medicine in the State of Texas. On March 26, 2004, Boyd was removed from the Approved

Doctor List in the State of Texas because his chiropractic license had been cancelled in August

1999, effectively barring him from collecting workers’ compensation benefits. Boyd was the

CEO, President and sole shareholder of Satex, as well as two other companies which are

described in this section, Inner Houston Medical Management, Inc. and Wildwood Medical

Management, Inc., all of which were created together with Dr. Mohamed in June 2005 to further

the fraud scheme. Boyd is a defendant in the First through Fourth Claims for Relief.

       101.   Boyd’s relationship with Dr. Mohamed and the Alibhais dates back to at least late

2002 when Boyd acted as the intermediary between various ASCs and hospitals and Mohamed,

the Alibhais and the Shell Companies in negotiating the secret and illegal “use” agreements

described herein. See Ex. H, attached hereto, which is a November 4, 2002 memorandum from

attorney John Spicer to Dr. Mohamed and Nizamudin Alibhai regarding Boyd’s involvement in

negotiations for an illegal “use” agreement with Vista Surgical Center. Furthermore, from

December 2003 through May 2005, Woodward Ltd. issued at least 11 checks to Boyd’s wife,

Tammy Boyd, totaling $84,000.

       102.   Satex Management Services, Inc. (“Satex”) was incorporated under the laws of

Texas on or about June 8, 2005, with its principal place of business at 6228 Bandera in San

Antonio, Texas. At the time of its incorporation, its name was West Houston Management

Services, Inc. On July 20, 2005, articles of amendment changing the name of the corporation to

Satex were filed. As set forth below, Satex was formed by Boyd solely to enable Dr. Mohamed

to continue to secretly profit from workers’ compensation claims after he was barred by the

TWCC from doing so. Satex is a defendant in the First through Fourth Claims for Relief.

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       103.    In June 2005, Mohamed and Boyd created a sham agreement which was nothing

more than a ruse to secretly and illegally funnel to Dr. Mohamed most of the workers’

compensation benefits received from Travelers and other insurers as a result of Dr. Cerday’s

purported services. Specifically, in a “Medical Consultant Agreement” dated June 1, 2005,

Satex agreed to pay Dr. Mohamed to serve as a “Medical Consultant” and to “assist Satex in

managing various medical practices” which was to include managing and overseeing the

operation of medical practices designated by Satex, as well as Satex’s own practices. In that

regard, Dr Mohamed was to “formulate, monitor, oversee and approve all policies and activities

of the medical staff, as well as review and revise the current operations, procedures, including

bylaws, rules and regulations, . . . [and] reasonably assist other licensed medical practitioners in

performing and evaluating medical services, to the extent permitted by law.” The Medical

Consultant Agreement is attached hereto as Ex. I.

       104.    The Medical Consultant Agreement was a sham. Much, if not most, of the

proceeds of Dr. Cerday’s fraudulent practices, were paid to Satex, and then passed on to Dr.

Mohamed under the auspices of the Medical Consultant Agreement. Satex did not actually

provide any services to Dr. Cerday or Southwest Pain, and Dr. Mohamed did not actually

provide any service to Satex. The arrangement was set up to create an aura of legitimacy for the

money flow from Dr. Cerday to Satex to Dr. Mohamed.

       105.    In or about May 2005, Dr. Mohamed, working together with the Alibhais,

transferred the Shell Companies to Boyd to enable Dr. Mohamed, as well as Boyd, to continue to

secretly, unlawfully and substantially profit from the facility fees charged to Travelers and other

insurers for procedures, including medically unnecessary Nerve Blocks, that were purportedly

performed by Dr. Cerday at ASCs and hospitals.



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       106.    In June 2005, Boyd and Dr. Mohamed also created two new entities to secretly,

unlawfully and substantially profit from the facility fees charged to Travelers and other insurers

for procedures, including medically unnecessary Nerve Blocks, that were purportedly performed

by Dr. Cerday at ASCs and hospitals.        Specifically, they formed Inner Houston Medical

Management, Inc. (“Inner Houston”) and Wildwood Medical Management, Inc. (“Wildwood”)

which both were incorporated under the laws of Texas on or about June 14, 2005, with a

principal place of business at 1207 Wildwood Lane in Katy, Texas. Boyd was the CEO,

President and sole shareholder of both companies, but both were formed primarily for the benefit

of Dr. Mohamed. Inner Houston and Wildwood are defendants in the First through Fourth

Claims for Relief.

       107.    Since approximately June 2005, Travelers has been fraudulently induced to pay

Inner Houston and Wildwood more than $16,000 for facility fees and anesthesia services relating

to procedures purportedly performed by Dr. Cerday at ASCs and hospitals. Inner Houston and

Wildwood did not provide any of the items or services upon which these fees were based for any

procedure purportedly performed by Dr. Cerday. Therefore, Inner Houston and Wildwood had

no authority to charge for or receive these fees from Travelers or any other insurer for any such

procedures, regardless of the nature of the item or service or whether they were medically

necessary.

       108.    To mislead Travelers and other insurers to believe that Inner Houston and

Wildwood were collecting facility fees on behalf of ASCs and hospitals, Dr. Mohamed and Boyd

typically submitted the bills from “Wildwood Medical, The Renaissance Hospital,” with an

address of PO Box 437, San Antonio, TX 78292-0437 which had no obvious connection to Dr.

Mohamed or Boyd, and used a “Provider No.” of 450795 which was the actual Provider Number

of the Renaissance Hospital. A representative bill from Wildwood is attached hereto as Ex. J.

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       5.      The Hospital Defendant

       109.    Houston Community Hospital, Inc. was incorporated under the laws of Texas on

or about December 29, 2000, and operates a licensed hospital, now known as Renaissance

Hospital, at 2807 York Road in Houston, TX. From at least May 2002 through October 2004,

pursuant to a secret and illegal kickback arrangement, Houston Community Hospital, Inc. was

paid at least $245,000 to facilitate the fraud scheme by allowing Woodward Ltd. to submit and

collect charges from Travelers and other insurers for facility fees relating to procedures

purportedly performed by Drs. Mohamed and Cerday at the Houston Community Hospital, even

though Woodward Ltd. did not provide any of the goods and services upon which those fees

were based. Pursuant to this arrangement, Houston Community Hospital, Inc. facilitated the

submission to Travelers of at least 60 fraudulent bills from Woodward Ltd. and Wildwood for

facility fees based upon procedures performed by Drs. Mohamed and Cerday at the Houston

Community Hospital, and Houston Community Hospital, Inc. is a defendant in the Second and

Fourth Claims for Relief.

       6.      The Undavia Defendants

       110.    Khyati Undavia is a citizen of the State of Texas, has been licensed as a

pharmacist in the State of Texas in 1996, and is one of Dr. Mohamed’s former wives. Undavia is

a defendant in the Fifth through Eighth Claims for Relief.

       111.    Minu RX, Ltd. d/b/a Plaza Medical Center Pharmacy and Memorial

Compounding Pharmacy was formed as a limited partnership under the laws of Texas on or

about March 16, 2005, with its principal place of business at 2918 San Jacinto in Houston, TX.

The building was the location of the Pain Institute and Southwest Pain, and was owned by

Woodward Ltd. The predecessor to Minu RX, Ltd. was Minu RX, Inc. which was incorporated

under the laws of Texas on or about April 28, 1998. Pursuant to a plan of conversion filed on

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March 16, 2005, Minu RX, Inc. was converted into Minu RX, Ltd. and all assets and liabilities of

Minu RX, Inc. were transferred to Minu RX, Ltd. Minu RX, Ltd. is a defendant in the Seventh

and Eighth Claim for Relief.

       112.    Minu GP, LLC was formed as a limited liability company under the laws of Texas

on or about March 16, 2005, and is the general partner for Minu RX, Ltd. As such, it caused,

benefited from and is responsible for all activities of Minu, Ltd. Minu GP, LLC is a defendant in

the Fifth through Eighth Claims for Relief.

       113.    On paper, Undavia was and is the sole director, officer and, shareholder of Minu

RX, Inc, as well as the sole member of Minu GP, LLC. But, in fact, Dr. Mohamed is and always

has been a full fledged partner in both Minu RX, Inc., Minu RX, Ltd and Minu GP, LLC.

Pursuant to this interest, Dr. Mohamed has received more than $5,300,000, through payments to

the Pain Institute and other entities such as NC Consulting, New Frontier NV and Samsher Flight

Management. To conceal the true nature of these payments and Dr. Mohamed’s interest in Minu

RX, Undavia and Dr. Mohamed agreed to falsely characterize the payments as “royalties.”

Furthermore, Dr. Mohamed, acting under penalties of perjury, knowingly omitted any disclosure

of his interest in Minu RX in an inventory of his alleged assets which was filed under oath in

February 2005 in his divorce proceedings from Deborah Mohamed, and in his schedules,

statements of financial affairs and testimony under oath in his own bankruptcy proceedings. In

addition, Minu RX filed a false claim in the consolidated bankruptcy proceeding of a related

entity, Samsher Flight Management, Inc., which was co-owned by Undavia and Dr. Mohamed,

claiming that Samsher Flight Management owed a valid debt of $935,000 to Minu RX.

       114.    From at least 1999 through the present date, Undavia and Dr. Mohamed have

caused Minu RX to enter into secret and illegal kickback arrangements with several doctors

across the State of Texas, including Drs. Bayles, Cerday, Chowdhury, Moorehead, Shanti and,

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on information and belief, McConnell, Pervez, Reyes, Roman and Vidal, in violation of

V.T.C.A. Occupations Code § 102.001 and 28 T.A.C. § 180.25. In return for the kickbacks,

these doctors have issued thousands of prescriptions to be filled exclusively by Undavia and

Minu RX for the medically unnecessary Compounds. Minu RX then has submitted charges to

Travelers and other insurers for more than $325 for each prescription of the Compounds, along

with a false letter of medical necessity. These fraudulent charges are represented, in part, in the

chart attached hereto as Ex. U.

       115.      As set forth below, (a) the Compounds have never been medically necessary and

the letters of medical necessity which Dr. Mohamed and Undavia caused Minu RX to submit in

support of every prescription are false in several respects, (b) every prescription for Compounds

from Minu RX has been illegal under 21 U.S.C. § 353a because they were not tailored to

individual patients and the prescriptions were invalid in that the Compounds were medically

unnecessary and often, if not always, they resulted from illegal kickbacks paid by Minu RX and

Undavia to the doctors, and (c) Minu RX knowingly maximized its fraudulent charges for the

Compounds by including high dosages of unnecessary ingredients in the Compounds, and

misrepresenting the source from which Minu RX purchased the generic drugs included in the

Compounds to take advantage of a pricing formula based on the average wholesale prices of

those sources.

       116.      Based upon the prescriptions from Drs. Mohamed, Cerday, Bayles, Chowdhury,

McConnell, Moorehead, Pervez, Reyes, Roman, Shanti and Vidal, and other doctors, along with

the false letters of medical necessity that have been submitted to support the claims of Minu RX

for the medically unnecessary Compounds, Travelers has been fraudulently induced to pay Minu

RX more than $2,200,000.



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         117.     On paper, Undavia also was and is the sole director, officer and, shareholder of

Chartwell Distributors, Inc. (“Chartwell”) which provides durable medical equipment based

upon prescriptions from Dr. Mohamed and other doctors in TX. But, in fact, Dr. Mohamed is

and always has been a full fledged partner in Chartwell. Pursuant to this interest, Dr. Mohamed

has received at least hundreds of thousands of dollars, through payments to the Pain Institute and

other entities such as New Frontier NV and Samsher Flight Management. To conceal the true

nature of these payments and Dr. Mohamed’s interest in Chartwell, Undavia and Dr. Mohamed

agreed to falsely characterize the payments as “royalties.” Furthermore, Dr. Mohamed, acting

under penalties of perjury, knowingly omitted any disclosure of his interest in Chartwell in an

inventory of his alleged assets filed in his divorce proceeding from Deborah Mohamed and in his

schedules, statements of financial affairs and testimony in his own bankruptcy proceedings.

Chartwell, Minu RX, the Pain Institute and Southwest Pain and Injury have shared the same

address of 2918 San Jacinto in Houston, TX.

         7.       The Prescribing Doctor Defendants
         118.      Kenneth S. Bayles is a citizen of and is licensed to practice osteopathy in the

State of Texas. Since approximately December 2005, pursuant to a secret and illegal kickback

arrangement with Minu RX and Khyati Undavia, Dr. Bayles knowingly has issued at least 130

prescriptions for the medically unnecessary Compounds. Dr. Bayles is a defendant in the Sixth

and Eighth Claims for Relief.

         119.     Tim Chowdhury is a citizen of and is licensed to practice medicine in the State of

Texas.        Since approximately September 2005, pursuant to a secret and illegal kickback

arrangement with Minu RX and Khyati Undavia, Dr. Chowdhury knowingly has issued at least

95 prescriptions for the medically unnecessary Compounds. Dr. Chowdhury is a defendant in the

Sixth and Eighth Claims for Relief.

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         120.   John McConnell is a citizen of and is licensed to practice medicine in the State of

Texas. Since approximately January 2006, Dr. McConnell knowingly has issued at least 229

prescriptions for the medically unnecessary Compounds.         On information and belief, these

prescriptions were issued pursuant to a secret and illegal kickback arrangement with Minu RX

and Khyati Undavia. Dr. McConnell is a defendant in the Sixth and Eighth Claims for Relief.

         121.   Will Moorehead is a citizen of and is licensed to practice medicine in the State of

Texas. Since approximately April 2005, pursuant to a secret and illegal kickback arrangement

with Minu RX and Khyati Undavia, Dr. Moorehead knowingly has issued at least 264

prescriptions for the medically unnecessary Compounds. Dr. Moorehead is a defendant in the

Sixth and Eighth Claims for Relief.

         122.   Bobby Pervez is a citizen of and is licensed to practice medicine in the State of

Texas.    Since approximately October 2001, Dr. Pervez knowingly has issued at least 153

prescriptions for the medically unnecessary Compounds          On information and belief, these

prescriptions were issued pursuant to a secret and illegal kickback arrangement with Minu RX

and Khyati Undavia. Dr. Pervez is a defendant in the Sixth and Eighth Claims for Relief.

         123.   Ernest Roman is a citizen of and is licensed to practice medicine in the State of

Texas. Since approximately September 2004, Dr. Roman has issued at least 257 prescriptions

for the medically unnecessary Compounds. On information and belief, these prescriptions were

issued pursuant to a secret and illegal kickback arrangement with Minu RX and Khyati Undavia.

Dr. Roman is a defendant in the Sixth and Eighth Claims for Relief.

         124.   Ihsan Shanti is a citizen of and is licensed to practice medicine in the State of

Texas. Since approximately January 2000, pursuant to a secret and illegal kickback arrangement

with Minu RX and Khyati Undavia, Dr. Shanti knowingly has issued at least 289 prescriptions



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for the medically unnecessary Compounds. Dr. Shanti is a defendant in the Sixth and Eighth

Claims for Relief.

       125.    Omar Vidal is a citizen of and is licensed to practice medicine in the State of

Texas. Since approximately August 2005, pursuant to a secret and illegal kickback arrangement

with Minu RX and Khyati Undavia, Dr. Vidal knowingly has issued at least 184 prescriptions for

the medically unnecessary Compounds. On information and belief, these prescriptions were

issued pursuant to a secret and illegal kickback arrangement with Minu RX and Khyati Undavia.

Dr. Vidal is a defendant in the Sixth and Eighth Claims for Relief.

       126.    The chart attached hereto as Ex. U identifies the prescriptions of the Prescribing

Doctor Defendants for the medically unnecessary Compounds which were the basis of the

fraudulent claims submitted by Minu RX to Travelers. The Prescribing Doctor Defendants

intended and had reason to expect that Travelers and other insurers would rely on these

prescriptions in paying Minu RX’s fraudulent charges for the medically unnecessary

Compounds. In fact, no such charges could have been submitted without such prescriptions.

IV.    THE FRAUD SCHEME
       A.      The Fraudulent Nerve Blocks

       127.    One aspect of the fraud scheme has been premised on the submission of charges

to Travelers and other insurers for Nerve Blocks by Drs. Mohamed and Cerday, which were

either medically unnecessary or not performed, from 1999 until at least the date of this Second

Amended Complaint. The defendants profited through the collection of fraudulent charges for

the (a) performance of those procedures, (b) facility fees for the goods and services purportedly

provided by the ASCs and hospitals where those procedures were performed, and (c) related

anesthesia services.




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       128.      A Nerve Block is a legitimate procedure for chronic pain patients. It is generally

performed to break-up scarring, numb the affected areas, reduce inflammation, and block pain

signals from traveling through the nerves. The procedure involves the injection of a solution into

the joints between bones, or into the epidural space surrounding the spinal cord, spinal fluid, and

nerve roots that run along both sides of the spine. Typically, when solution is injected into these

areas directly, it can flow to multiple levels of the spine, and both sides of the spine.

Accordingly, it is often appropriate to treat multiple levels and both sides of the spine with just

one injection.

       129.      Nerve Blocks should be tailored to the individual patient. For example, different

patients should require injections at different levels or on different sides of the spine, with

different types and amounts of solution. Some patients require only one injection, while others

may need multiple injections over time. The time required between injections can vary, for

example, from several weeks to more than a year. As set forth below and in the chart attached

hereto as Ex. K, however, no such variance in treatment occurred among the patients of

Drs. Mohamed and Cerday.

       130.      Rather, Drs. Mohamed and Cerday have established a pre-determined fraudulent

protocol with respect to the Nerve Blocks. This pre-determined protocol has evolved over time,

with each iteration resulting in substantially inflated charges to Travelers by: (a) increasing the

number of procedures that were purportedly performed during each Nerve Block; (b) improperly

manipulating the billing codes relating to those procedures to maximize profits by including

duplicative charges (i.e., the use of two billing codes to describe the same service), unbundled

charges (i.e., the use of two billing codes and two charges which are supposed to be bundled

together into one code for a lesser charge), and charges for related services that were never

performed (i.e., placement of a medicine pump under a patient’s skin, or billing for six injections

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when only one or two were done), and (c) performing the procedures only at ASCs and hospitals

through which Dr. Mohamed and the Alibhais or Boyd could substantially profit through the

above-described undisclosed ownership interests or secret and illegal “use” agreements.

       131.    To support these fraudulent charges, each bill submitted to Travelers for the

Nerve Blocks is accompanied by a report (the “Operative Report”), bearing the signature stamp

of Dr. Mohamed or Cerday. These are cloned, verbatim Operative Reports, which indicate that

virtually every patient had the same conditions, needed and received the same procedures, and

had the same results.     As a result of the pre-determined fraudulent protocol, the charges

submitted to Travelers for the Nerve Blocks performed by Drs. Mohamed and Cerday increased

from approximately $1,500 to $4,500 per visit in 1999, to often between $10,000 and $20,000

per visit by 2005.

       132.    The success of the fraudulent pre-determined protocol has depended upon

inducing Travelers into pre-authorizing the Nerve Blocks, thereby discouraging Travelers from

later reviewing and/or challenging the compensability of the procedures through the workers’

compensation system. Drs. Mohamed and Cerday have accomplished this by requesting pre-

authorization for the Nerve Blocks and providing Travelers with patient records and information

to support the purported medical necessity of each such request. Drs. Mohamed and Cerday

know that: (a) Travelers is required to authorize or decline the pre-authorization requests within a

matter of days or face administrative penalties, (b) several people at Travelers are responsible for

reviewing the requests, (c) each person reviewing the pre-authorization requests for Travelers

will view each request in isolation and will have no reason to know that each request is part of a

pre-determined fraudulent protocol, and (d) Travelers will be required to provide a clinical basis

and principal reason for any denial of pre-authorization requests which could lead to expensive



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and time consuming administrative proceedings challenging any such denials on a case-by-case

basis.

         133.   The defendants have profited from all the fraudulent charges collected in

connection with the Nerve Blocks by performing them only in facilities (a) in which Dr.

Mohamed had an undisclosed ownership interest, or (b) with which Dr. Mohamed had an

unlawful kickback arrangements which permitted the Shell Companies, as well as Inner Houston

and Wildwood, to charge and collect the facility fees for the procedures performed in those

locations.

                1.     The Pre-Determined Fraudulent Nerve Block Protocol

         134.   Pursuant to a pre-determined fraudulent protocol, Drs. Mohamed and Cerday

knowingly performed at least two forms of medically unnecessary Nerve Blocks, and

manipulated the billing codes to maximize the profits from these procedures.

         135.   A Nerve Block involves an injection into the epidural space at various vertebra

levels of the spine, either with an injection through the middle of the spine directly into the

epidural space (“Direct Nerve Blocks”), or injection(s) in the opening (the foramina) between the

vertebra (“Transforaminal Nerve Blocks”).

         136.   Both Direct Nerve Blocks and Transforaminal Nerve Blocks are designed to

inject solution into the same epidural space. The only difference between the two procedures is

in the path of the injection. Direct Nerve Blocks are performed by placing a needle in the

epidural space and injecting solution, or by placing a needle in the epidural space followed by

passing a catheter through that needle, and then withdrawing the needle and injecting solution

through the catheter. For Transforaminal Nerve Blocks, the path of the injection is through the

foramina (i.e., opening) between the vertebra. They are performed by injecting solution through


                                             47
a needle into the epidural space.         There should be no reason to do both Direct and

Transforaminal Nerve Blocks to inject solution into the same epidural space.

       137.    As demonstrated in the chart attached hereto as Exhibit K, between 1999 and May

2005, Dr. Mohamed’s practices with respect to Direct and Transforaminal Nerve Blocks fell into

three distinct patterns at different periods of time, each of which is described in this section.

       138.    When Dr. Mohamed became ineligible to collect workers’ compensation benefits

in May 2005, Dr. Cerday continued the fraud scheme by adopting the same pre-determined

fraudulent protocols in place at that time. In almost 20 years of practice as a pain management

specialist before May 2005, Dr. Cerday had never performed the more expensive Transforaminal

Nerve Blocks. He had always performed the less expensive Direct Nerve Blocks.

       139.    Essentially, from 1999 through early 2001, on each visit, virtually every patient

received one Direct Nerve Block injection to one level of the spine -- either the space between

the L5 and S1 level or the space between the C7 and T1 levels. This often resulted in charges to

Travelers of about $4,500 per visit. From early 2001 to the spring of 2002, on each visit

virtually every patient purportedly received one Direct Nerve Block injection through a catheter.

However, during this time-period, Dr. Mohamed reported that he injected two levels of the spine

(the L4-5 and L5-S1) bilaterally (i.e., on both the left and right sides of the spine). This often

resulted in charges to Travelers of about $7,500 per visit. From 2002 forward, on each visit

virtually every patient purportedly received four Transforaminal Nerve Block injections which

were performed bilaterally at the same two levels of the spine, L5 and S1, in addition to a Direct

Nerve Block through a catheter. This often has resulted in charges of more than $15,000 per

visit. During all periods, patients typically returned two or three times for additional Nerve

Blocks, with 30 days or less between them.



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       140.    From a medical perspective, these patterns make no sense because it is simply

impossible that virtually every patient had the same conditions, needed and received the same

procedures, and had the same result every time—no one improved. Furthermore, it makes even

less sense that those conditions, procedures and results varied only depending on which period of

time the Nerve Blocks were performed. For example, virtually every patient from 1999 through

early 2001 purportedly required only one Direct Nerve Block injection, either at the L5-S1 inter-

space or the C7-T1 inter-space, but virtually every patient from early 2002 forward purportedly

has required four Transforaminal Nerve Block injections at the L5 and S1 levels of the spine, in

addition to a Direct Nerve Block injection to break-up purported scarring.

               2.     The Pre-Determined Protocol From 1999 Through Early 2001

       141.    As demonstrated in the chart attached hereto as Ex. K, the first pre-determined

protocol occurred from 1999 through early 2001. During this period, virtually all patients,

during each visit, received one Direct Nerve Block injection into either the lumbar (i.e., lower)

spine at the space between the L5 and S1 vertebra or the cervical (i.e., upper) spine at the space

between the C7 and T1 vertebra. The patients typically received two to three of the same

procedures with 30 days or less between each one. For each such procedure, Dr. Mohamed

submitted a cloned, verbatim Operative Report bearing his signature stamp. Examples of his

Operative Reports for this period are attached as Ex. L.

       142.    From a medical perspective, it makes no sense that: (a) virtually every patient

over this two-year period required a Direct Nerve Block at one of the same two levels of the

spine as opposed to at one level or any other levels, (b) virtually every patient required an

injection on more than one occasion, with each such injection becoming necessary within 30

days or less of the last one, and (c) according to the Operative Reports, every patient had exactly

the same conditions, needed and received exactly the same procedure, and had exactly the same

                                              49
results—no one improved. Accordingly, based upon the pattern of Nerve Blocks during this

period, they were not performed because they were medically necessary or appropriate. Rather,

they were performed solely to facilitate fraudulent charges relating to each such procedure.

       143.    During this time-period, the bills submitted to Travelers for each injection to the

lumbar and cervical areas of the spine included one unit of billing code 62289 or 62298,

respectively. The corresponding charges typically ranged from approximately $1,500 to $4,500

per patient visit for the single Direct Nerve Block injection.

               3.      The Pre-Determined Protocol From Early 2001 Through Early 2002

       144.    As demonstrated in the chart attached hereto as Ex. K, Dr. Mohamed changed the

pre-determined protocol in early 2001 to significantly increase his fraudulent charges to

Travelers. Specifically, from early 2001 to early 2002, virtually every patient during each visit

received one Direct Nerve Block injection into the lumbar (i.e., lower) spine through a catheter

with two levels - L4-5 and L5-S1 – reported as being injected bilaterally (i.e., on both the right

and left sides of the spine). The patients typically received two to three of the same sets of

procedures, with 30 days or less between each set.               For each such set of procedures,

Dr. Mohamed submitted cloned, verbatim Operative Reports bearing his signature stamp.

According to the Operative Reports generated during this time-period, each patient purportedly

had scarring around the nerve roots on both the right and left sides (i.e., bilaterally) of the L5 and

S1 vertebra levels. Examples of Dr. Mohamed’s Operative Reports for this period of time are

attached hereto as Ex. M.

       145.    From a medical perspective, it makes no sense that: (a) virtually every patient

over this one-year period required two Direct Nerve Block injections into the same two levels of

the spine, as opposed to into one level or any other levels, (b) virtually every patient required

injections on more than one occasion, with each such injection becoming necessary within 30

                                               50
days or less of the last one, (c) according to the Operative Reports, every patient had exactly the

same conditions, needed and received exactly the same procedures, and had exactly the same

results—no one improved, and (d) two levels were injected, because during a routine Direct

Nerve Block, solution which is injected in the epidural space flows to several levels above and

below the injection site. Accordingly, based upon the pattern of Nerve Blocks during this period,

they were either not medically necessary or not performed. Rather, they were performed, if at

all, solely to facilitate fraudulent charges for the procedures.

       146.    From early 2001 to early 2002, the bills submitted to Travelers typically included

four units under billing code 62289 for the Nerve Blocks. The corresponding charges were

often $7,000 to $8,000 per patient visit for the procedures. These charges were fraudulent

because the procedures were either not medically necessary or not performed. Furthermore, in

light of the fact that just one Nerve Block injection can reach multiple levels of the spine on both

sides of the spine, only one unit under billing code 62289 should have been charged. The bills

submitted to Travelers were improperly inflated by billing four units under billing code 62289,

which multiplied the charges by four. Moreover, the bills also were inflated by including

another $2,113 charge under billing code 63780. Billing code 63780 represents the placement

under the patient’s skin of a pump filled with medicine (e.g., morphine for cancer patients).

However, no such procedure was performed, and there was no basis for the use of this code or

the corresponding $2,113 charge.

               4.      The Pre-Determined Protocol From Early 2002 Forward

       147.    Dr. Mohamed changed the pre-determined protocol again in early 2002.

Specifically, from early 2002 forward, virtually every patient, during each visit, reportedly

received: (a) four Transforaminal Nerve Block injections which were performed bilaterally into

either the lumbar (i.e., lower) spine at both the L4 and L5 levels, or at both the L5 and S1 levels;

                                                51
and (b) a Direct Epidural Injection through a catheter. According to Dr. Mohamed’s boilerplate,

verbatim Operative Reports, the Direct Nerve Block injection was done bilaterally (i.e., on both

the left and right sides of the spine) to break-up scarring around the nerve roots (i.e., lysis of

adhesions) on two levels of the spine -- either the L4 and L5 levels, or the L5 and S1 levels. In

addition, the patients also received Transforaminal Nerve Block injections at the same two levels

of the spine -- either the L4 ands L5 levels, or the L5 and S1 levels. The patients typically

received these procedures, if they received them at all, two to three times with 30 days or less

between each set. Dr. Mohamed then submitted cloned, verbatim Operative Reports bearing his

signature stamp. According to the Operative Reports, every patient had scarring around the

nerve roots on both the right and left sides (i.e., bilaterally) of either the L4 and L5 or the L5 and

S1 vertebra levels. Examples of his Operative Reports during this period are attached hereto as

Ex. N.

         148.   From a medical perspective, it makes no sense that: (a) virtually every patient

over this three-year period required Direct Nerve Block injections through a catheter to break-up

scarring that occurred bilaterally at two levels of the spine (e.g., the nerve roots on both the right

and left sides of L4 and L5, or of L5 and S1); (b) before early 2001 no scarring occurred in any

of his patients at these or any other levels of the spine; (c) in addition to the Direct Nerve Block

injection performed to break-up the scarring, virtually every patient purportedly needed and

received Transforaminal Nerve Block injections at the same levels of the spine; (d) before 2002,

no patient purportedly needed or received a Transforaminal Nerve Block; (e) virtually every

patient required injections on more than one occasion, with each such injection becoming

necessary within 30 days or less of the last one; and (f) according to the Operative Reports, every

patient had exactly the same condition, needed and received exactly the same procedures, and

had exactly the same results—no one improved. Accordingly, based upon the pattern of Nerve

                                               52
Blocks during this period, they were either not medically necessary or not performed. Instead,

they were performed solely to facilitate fraudulent charges for these procedures.

       149.    The billing codes submitted to Travelers during this period of time were

improperly manipulated in several respects to substantially inflate the charges relating to the

Nerve Blocks. As a result, the charges submitted to Travelers increased, in many instances, to

more than $15,000 per patient visit for these procedures. These charges were fraudulent because

the procedures were either not medically necessary or not performed.

       150.    During this period, if Drs. Mohamed and Cerday actually performed the Direct

Nerve Blocks via a catheter to break-up scarring, the charges should have included only one unit

under billing code 62264 which represents a Direct Nerve Block to break-up scarring around the

epidural space. If a such a Direct Nerve Block were performed, there would have been no need

to also perform and charge for any of the Transforaminal Nerve Blocks.

       151.    During this period, if Drs. Mohamed and Cerday did not actually perform the

Direct Nerve Blocks but did do the Transforaminal Nerve Blocks at two levels of the spine, the

charges should have included only one unit under billing code 64483 and one unit under billing

code 64484.

       152.    From early 2002 through about the fall of 2003, the improper billing codes

typically included up to two to four units under billing code 64999 for the Transforaminal Nerve

Blocks that Drs. Mohamed and Cerday allegedly performed on each of the bilateral nerve roots

at L4 and L5 or L5 and S1. These charges were fraudulent for at least two reasons. First, if

these procedures were performed, they were not medically necessary. Second, the appropriate

billing codes for these procedures (even if they were performed and were necessary) would have

been one unit of 64483 and one unit of 64484, which are the codes for Transforaminal Nerve

Blocks and which would have resulted in substantially lower charges.

                                              53
       153.    From about the fall of 2003 through the present, the improper billing codes

typically included:

               (a)    one unit under billing code 62263 which represents that Drs.
                      Mohamed and Cerday used a solution injection or mechanical
                      means to break-up scarring in the epidural space around the spine
                      over two or more days. The use of billing code 62263 was
                      fraudulent because Drs. Mohamed and Cerday never used a
                      solution injection or mechanical means to break-up adhesions in the
                      epidural space over more than one day, if they did it all.
               (b)    Even if Drs. Mohamed and Cerday used a solution injection or
                      mechanical means to break-up adhesions in the epidural space and
                      this procedure was medically necessary (which it was not), the
                      appropriate billing code would have been 62264, which would have
                      resulted in a lesser charge than the one presented under billing code
                      62263, and there would not have been any basis to use any of the
                      other routinely used billing codes that are described in paragraphs
                      (c) – (f).
               (c)    one unit under billing code 62311, which represents a Direct Nerve
                      Block into the lumbar or sacral area of the spine. Even if Drs.
                      Mohamed and Cerday performed Direct Nerve Blocks and they
                      were medically necessary (which they were not), the charge for this
                      procedure was already bundled into and included in the charge for
                      billing code 62263. Drs. Mohamed and Cerday fraudulently billed
                      twice for the same procedure by using billing codes 62311 and
                      62263 together.
               (d)    two units under billing code 64483, which represents a
                      Transforaminal Nerve Block into the lumbar or sacral area of any
                      level of the spine, bilaterally. This code was fraudulent for at least
                      two reasons. First, if Drs. Mohamed and Cerday actually
                      performed Direct Nerve Blocks, there likely would have been no
                      medical reason to perform any Transforaminal Nerve Blocks at the
                      same levels of the spine. Both procedures are designed to deliver
                      solution to the same epidural space, and would have been
                      duplicative. Therefore, there was no basis to charge under billing
                      code 64483 when a charge under billing code 62263 was already
                      included. Second, it was improper to bill two units under billing
                      code 64483 for the Transforaminal Nerve Blocks which were made
                      bilaterally at one level of the spine because it is permissible to bill
                      only one unit of 64483 for the bilateral injections made at any
                      vertebra level.
               (e)    two units under billing code 64484, which represents a
                      Transforaminal Nerve Block into the bilateral epidural space at
                      additional vertebra levels of the spine after one vertebra level

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                    already had been done. The use of billing code 64484 was
                    fraudulent for at least two reasons. First, if Drs. Mohamed and
                    Cerday actually performed Direct Nerve Blocks, there would have
                    been no medical reason to perform any Transforaminal Nerve
                    Block at the same levels of the spine. Both procedures are designed
                    to deliver solution to the same epidural space, and would have been
                    duplicative. Therefore, there was no basis to charge under billing
                    code 64484 when a charge under billing code 62263 was already
                    included. Second, it was improper to bill two units under billing
                    code 64484 for the Transforaminal Nerve Blocks which were made
                    bilaterally at one level of the spine because it is permissible to bill
                    only one unit of 64484 for the bilateral injections made for both the
                    left and right sides at any vertebra level.
              (f)   charges under billing codes 72275 and 76005, which represent
                    epidurograms and fluoroscopy, respectively.           Epidurography
                    involves the injection of contrast material that can be seen by x-ray
                    in the epidural space. Fluoroscopy is a radiological procedure used
                    to guide the path of the needle and catheter during Direct and
                    Transforaminal Nerve Blocks. The use of both of these codes was
                    fraudulent because the charge for these procedures was already
                    bundled into and included in the charge for billing code 62263
                    which expressly includes the “radiologic localization” for the
                    injections contemplated by that code. The use of billing codes
                    72275 and 76005, together with billing code 62263, amounted to
                    fraudulently billing three times for the radiologic localization and
                    interpretation necessary to do the Direct and Transforaminal Nerve
                    Blocks.

              5.     The Secret And Illegal Kickback Arrangements With The Facilities
                     Where Nerve Block Injections Were Purportedly Performed

       154.   Between at least 1999 and May 2005, Dr. Mohamed performed Nerve Block

Injections only at the ASCs and hospitals with which he, the Alibhais and Boyd had the secret

and illegal arrangements described in paragraphs 37-89 and 105-108 above. These arrangements

created precisely the kinds of improper financial incentives for Dr. Mohamed to patronize and

refer patients to the ASCs and hospitals that Texas’ licensure, anti-kickback and workers’

compensation laws were specifically designed to prohibit. All parties to these arrangements

benefited. The ASCs and hospitals guaranteed themselves income from the “use” fees that they

collected for hours during which their operating rooms might otherwise have sat idle, and

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secured the patronage of Drs. Mohamed and Cerday who brought the facilities a steady, if not

exclusive, referral stream for Nerve Blocks and other procedures.          At the same time, Dr.

Mohamed, the Alibhais and Boyd profited substantially from the facility fees that they collected

from these arrangements.

       155.    Dr. Mohamed, the Alibhais and Boyd, as well as the hospitals and ASCs, agreed

not to disclose their kickback arrangements because they knew full well that they were illegal

and that neither Dr. Mohamed, the Alibhais, Boyd, or the companies that they created, had any

right to charge for or collect the facility fees relating to any Nerve Blocks or other procedures

that Dr. Mohamed or Cerday performed. Indeed, they knew that only health care providers, such

as the hospitals and ASCs, which were licensed to and did provide the relevant goods or services

were entitled to charge for or collect workers’ compensation benefits, pursuant to 28 T.A.C. §§

133.20(d) (post-May 2, 2006) and 134.801(e) (from July 15, 2000 through May 1, 2006). In

fact, when these regulations were adopted, the TWCC explained that the purpose was to prohibit

“the practice whereby one entity pays a reduced fee to the health care provider that provided the

treatment(s) and/or service(s), then bills the workers’ compensation insurance carrier a higher

fee. This practice increases cost to the system without adding value to the system. . .” 25 Tex.

Reg. 2140 (Mar. 10, 2000).

       156.    To mislead Travelers into believing that payments for facility fees were being

made to licensed ASCs and hospitals, defendants engaged in affirmative acts of fraud including:

(1) identifying the provider of the facility goods and services as the Shell Company at the facility

– for example, “Woodward @ Houston Community Hospital” – causing it to appear that the

Shell Corporation was legitimately associated with the facility, when it was not, (2) either using

the six digit Medicare “provider number” assigned to the facility in Box 51 of the bill or using a

fictitious and meaningless ambulatory surgery identification number. For example, when billing

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for procedures performed at Gonzaba – a registered ambulatory surgery center in Texas with an

assigned Medicare number of 007221 – Mirage listed “ASC113” in Box 51. This purported

identification number is meaningless and was used to mislead Travelers into believing that

payments for facility fees were being made to a licensed ASC.

       B.      The Fraudulent Compounds

       157.    Another aspect of the fraud scheme has been premised on Minu RX’s submission

of charges to Travelers and other insurers for medically unnecessary Compounds that were

prescribed by Drs. Mohamed, Cerday, Bayles, Chowdhury, McConnell, Moorehead, Pervez,

Reyes, Roman, Shanti and Vidal, as well as several other doctors, often, if not always, pursuant

to secret and illegal kickbacks disguised as payments for “royalties,” for “research studies” or for

acting as a “Medical Consultant” or “Medical Director” to Minu RX.

       158.    As set forth above, Dr. Mohamed and Undavia formed Minu RX, to operate from

the location of the Pain Institute at 2918 San Jacinto in Houston, TX.             To conceal Dr.

Mohamed’s interest in Minu RX, Undavia is identified as the sole director, officer, shareholder

and member of Minu RX. In fact, Dr. Mohamed has always been a full fledged partner in the

company and, until May 25, 2005 when he was barred by the TWCC from participating in the

workers’ compensation system, Dr. Mohamed’s prescriptions were responsible for most of Minu

RX’s income.

       159.    From at least 1999 through the present date, Undavia and Dr. Mohamed have

caused Minu RX to enter into secret and illegal financial kickback arrangements with several

doctors, including Drs. Bayles, Cerday Chowdhury, Moorehead, Shanti, and, on information and

belief, Drs McConnell, Pervez, Reyes, Rodriguez, Roman and Vidal.              The kickbacks are

disguised as payments by Minu RX to the doctors for “royalties,” for “research studies” or for

acting as a “Medical Consultant” or “Medical Director” to Minu RX. In fact, these payments are

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pure kickbacks, in violation of V.T.C.A. Occupations Code § 102.001 and 28 T.A.C. § 180.25.

In return for these kickbacks, these doctors knowingly prescribed the medically unnecessary

Compounds thousands of times, to be filled exclusively by Undavia and Minu RX. Minu RX

then submitted charges to Travelers and other insurers for more than $325 for each prescription

of the Compounds, along with a letter of medical necessity falsely stating, among other things,

that the Compounds are medically necessary.        The letters of medical necessity also are

intentionally misleading in that they accurately state that the individual medicines in the

Compounds are FDA approved, but intentionally omit that the Compounds themselves are not

FDA approved for any use and many medicines in the Compounds are not FDA approved for

topical use.

       160.    The kickbacks from Minu RX and Undavia to Dr. Mohamed amounted to more

than $5,300,000 from 2002 through 2004 alone, and have taken various forms over time. For

example, in 2001 Dr. Mohamed and the Alibhais formed NC Consulting, as a Shell Company, to

funnel kickbacks from Minu RX to Dr. Mohamed. Although Dr. Mohamed’s name is not

associated with NC Consulting on any corporate filings, the company is identified as one of his

assets in a consolidated financial statement prepared for him for the calendar year 2002. That

financial statement states that “in 2001 NC Consulting was formed to collect fees received from

clinically prescribed pain gels developed by Dr. Mohamed.” The financial statement represents

that NC Consulting had receipts of $1,335,000 for 2002, which resulted in cash flow of

$1,174,000 for the year after expenses. Representative pages from Dr. Mohamed’s financial

statement regarding NC Consulting are attached hereto as Ex. O. Furthermore, in 2003, Minu

RX and Undavia funneled kickbacks amounting to more than $2,700,000 to Dr. Mohamed and

Nizamudin Alibhai. See the document attached hereto as Ex. P which was produced by the

trustee for Dr. Mohamed and his entities, referencing more than $7,000,000 in receipts to Minu

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RX (apparently for 2003) with $2,400,000 being allocated to “Niz” (a reference to Nizamudin

Alibhai) and another $300,000 being allocated to “Prov” (a reference to a Providian entity owned

by Dr. Mohamed). Furthermore, in an agreement dated October 2, 2003, Minu RX agreed to pay

to the Pain Institute a “royalty” of $175 for every prescription for the Compounds that was issued

by Dr. Mohamed or any other doctor at the Pain Institute. The October 2, 2003 agreement is

attached hereto as Ex. Q. The purported purpose of the $175 “royalty” was to compensate the

Pain Institute for its expertise in the development of formulas for compounded pharmaceuticals

including gel-based medicines and evaluating other products. In 2004, Minu RX paid the Pain

Institute at least $1,790,000 in such “royalties.” The characterization of Minu RX’s payments as

“royalties” was false. These payments were kickbacks to Dr. Mohamed, pursuant to his interest

as a full fledged partner in Minu RX.

       161.    Furthermore, personal financial statements prepared for Dr. Mohamed for the year

2004 projected that he would receive “royalty” income from the Compounds of approximately

$2,400,000 per year for each of the next five years. Representative pages from a 2004 personal

financial statement for Dr. Mohamed are attached hereto as Ex. R.

       162.    After Dr. Mohamed recruited Dr. Cerday in June 2005 to continue the fraud

scheme, Dr. Cerday knowingly prescribed hundreds of medically unnecessary Compounds for

patients whose benefits were paid by Travelers. Dr. Cerday, in approximately 20 years of

practicing as a pain medicine specialist before his association with Dr. Mohamed, had never

prescribed a Compound for a single patient.

       163.    On or about February 1, 2007, Minu RX and Undavia entered into two

agreements with Dr. Cerday and Southwest Pain which were kickback arrangements disguised as

“Medical Consultant,” “Medical Director” and “Recruiting Assistance” contracts. Pursuant to

the former, Minu RX has paid Dr. Cerday $5,000 a month to act as a “Medical Consultant” to

                                              59
Minu RX. Pursuant to the latter, Minu RX has “loaned” Southwest Pain at least $60,000 to assist

Dr. Cerday in “relocating” and starting a full-time medical practice in San Antonio, even though

he already had been in full-time practice in San Antonio for almost 2 years and Southwest Pain

did not need the money to recruit Dr. Cerday given that he owned Southwest Pain. In reality,

these payments to Dr. Cerday were illegal kickbacks. These kickback agreements are attached

hereto as Ex. S.

        164.   Minu RX has had similarly disguised kickback arrangements with Drs. Bayles,

Chowdhury, Moorehead, Shanti and, on information and belief, McConnell, Pervez, Reyes,

Roman and Vidal, as well as other doctors, who have knowingly prescribed its medically

unnecessary Compounds over the years.

        165.   The Compounds were not and are not medically necessary for at least five

reasons. First, some formulations of the Compounds purportedly include active drug ingredients

that are salt-based which makes it highly unlikely that they would be absorbed through the skin.

Second, some formulations of the Compounds purportedly include active drug ingredients that

would react with each other and negate their potential effectiveness. Third, all formulations of

the Compounds purportedly include combinations of active ingredients that are either duplicative

or for which there is no peer-reviewed, scientific evidence of efficacy for individual or

combination therapies. Fourth, even for those formulations of the Compounds with active drug

ingredients that could be absorbed through the skin, at best they would provide little, if any, pain

relief and certainly no more pain relief than if the standard, universally accepted, FDA approved,

oral medications including the same active ingredients, were taken by the patients. Fifth, in

addition to a lack of efficacy, the Compounds pose greater risks of side effects to the patients

than the standard, universally accepted, oral medications, namely in the form of rashes and

irritations.

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       166.    Furthermore, the letters of medical necessity submitted by Minu RX and Undavia

are intentionally misleading in that they accurately state that the individual medicines in the

Compounds are FDA approved, but intentionally omit that the Compounds themselves are not

FDA approved for any use and any of the medicines in the Compounds are not approved for

topical use. Moreover, every prescription for Compounds from Minu RX has been illegal under

federal law, particularly 21 U.S.C. § 353a, which prohibits compounding unless the compound is

for an identified individual patient based upon the unsolicited receipt of a valid prescription. The

Compounds prescribed from Minu RX were not tailored to individual patients and the

prescriptions were invalid in that they were for medically unnecessary Compounds and resulted

often, if not always, from illegal kickbacks paid by Minu RX and Undavia to the doctors.

       167.    Moreover, as set forth below, Dr. Mohamed and Undavia knowingly maximized

Minu RX’s fraudulent charges for the Compounds in at least two ways. First, they designed

them to include high dosages of unnecessary drugs and other substances. In fact, Dr. Mohamed

and Undavia knew that many of these drugs and other substances were wholly duplicative of

each other, directly conflicted with and negated any potential benefit of the others, had no

apparent purpose, and were in inexplicably high dosages.         They did so to take maximum

advantage of the applicable fee schedule. Specifically, 28 T.A.C. § 134.502(d)(2) provides that

compound drugs shall be billed by listing each drug included in the compound and calculating

the charge for each drug separately. By intentionally maximizing the ingredients and dosages

purportedly in the Compounds, Dr. Mohamed and Undavia thereby maximized the fraudulent

charges for each.

       168.    The second way that Dr. Mohamed and Undavia knowingly maximized the

fraudulent charges for the Compounds was designed to take advantage of another aspect of the

applicable fee schedule. Specifically, 28 T.A.C. § 134.503(a)(2) provides that the maximum

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allowable reimbursement (“MAR”) for prescription drugs shall be no more than “the fees

established by the following formulas based on the average wholesale price (“AWP”) determined

by utilizing a nationally recognized pharmaceutical reimbursement system (e.g., Redbook, First

Data Bank Services) in effect on the day the prescription drug is dispensed.” For generic drugs

like those included in the Compounds, the specified formula is “((AWP per unit) x (number of

units) x 1.25) + $4.00 dispensing fee = MAR.” In addition, a “compounding fee of $15 shall be

added for compound drugs. . . .”

       169.   To fraudulently maximize charges for the Compounds under the above-described

formula, the Minu RX bills to Travelers and other insurers misrepresented the source from which

Minu RX purchased the generic drugs included in the Compounds because the AWPs of those

sources were substantially higher than the AWPs of the sources from which Minu RX actually

purchased the generic drugs. By way of example, a common generic drug in the Compounds

was 12 grams of Ketoprofen. In bills submitted to Travelers, Minu RX routinely represented that

it purchased the Ketoprofen from the Professional Compounding Centers of America (“PCCA”).

According to the 2006 Redbook, the PCCA’s AWP for Ketoprofen is $3.12 per gram.

Therefore, under the fee schedule formula, Minu RX could and did charge a maximum of $50.80

for the 12 grams of Ketoprofen, based upon $3.12 (AWP) x 12 (number of units) x $1.25. See a

representative bill from Minu RX attached hereto as Ex. T.

       170.   The above-described charge of $50.80 for the 12 grams of Ketoprofen included in

the Compound was fraudulent because Minu RX did not buy Ketoprofen from the PCCA. In

fact, Minu RX purchased Ketoprofen from other suppliers such as Medisca, Inc. According to

the 2007 Redbook, Medisca’s AWP for Ketoprofen is $1.15 per gram (based upon the purchase

of 1000 grams). Therefore, under the fee schedule formula, Minu RX could and should have

charged a maximum of $17.25 for the 12 grams of Ketoprofen, based upon $1.15 (AWP) x 12

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(number of units) x $1.25. In other words, by misrepresenting to Travelers and other insurers the

identity of the supplier for the Ketroprofen that it used in its Compounds, Minu RX charged

almost three times the amount of the maximum charge to which it would have been entitled,

even if the Compounds were medically necessary, which they were not.

       171.    Moreover, Minu RX purchased the drugs that it used in the Compounds in

substantial quantities at prices that were much lower than any of the AWPs listed in the

Redbook. This increased Minu RX’s actual profit margins even more, and provided added

incentive to bill for as many of the medically unnecessary Compounds as possible.

       172.    Based upon the prescriptions from Drs. Mohamed, Bayles, Chowdhury, Cerday,

McConnell, Moorehead, Pervez, Reyes, Roman, Shanti and Vidal, as well as other doctors, along

with the false letters of medical necessity that have been submitted to support the claims of Minu

RX for the medically unnecessary Compounds, Travelers has been fraudulently induced to pay

Minu RX more than $2,200,000.

       C.      The Fraudulent Concealment Of The “Financial Interests” In Providers To
               Which Drs. Mohamed and Cerday Made Referrals, After September 1, 2003

       173.    Dr. Mohamed had direct or indirect ownership interests and/or compensation

arrangements with health care providers to which he made referrals after September 1, 2003,

namely: (a) the Shell Companies which are described at paragraphs 37-89 and 105-108 above,

(b) the hospitals and ASCs at which he and Dr. Cerday performed Nerve Blocks and other

procedures, including HCH, Renaissance ASC, Gonzaba ASC, St. Jude’s ASC, North Point ASC

and Orange ASC, (c) Minu RX, (d) Chartwell Distributors, Inc., and (e) at least five other

entities, Fountainview Rehab, LLC, Elite MRI, Inc., Medical Spine Care Clinics of America,

Inc., Medical Spine Care Clinic of Houston, Inc. and Medical Spine Care Clinic of San Antonio,

Inc., which he and the Alibhais created in 2003 to conceal his interest in and revenue stream


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from physical therapy services, magnetic resonance imaging studies, and Vax-D treatments

purportedly performed on his patients based upon his referrals. Accordingly, Dr. Mohamed had

a “financial interest” in these health care providers, within the meaning of 28 T.A.C. §§

180.24(a)(2)(a) and/or (a)(2)(b). In fact, from January 2003 though April 2005, Dr. Mohamed

received substantially more than $9 million from his undisclosed “financial interest” in these

entities.

        174.   Dr. Mohamed knowingly failed to disclose his “financial interests” in the above-

described entities, despite his requirement to do so pursuant to V.T.C.A. Labor Code §§

413.041(a)-(c) and 418.001(2), as well as 28 T.A.C. §§ 180.24(b)(1) and (b)(2).

        175.   Dr. Mohamed was well aware of the disclosure obligations under V.T.C.A. Labor

Code §§ 413.041(a)-(c) and 418.001(2) as well as 28 T.A.C. §§ 180.24(b)(1) and (b)(2) because,

on December 10, 2003, he disclosed on the relevant form that the Pain Institute “receives

compensation in the form of royalties” from Plaza Medical Center Pharmacy (i.e., Minu RX).

Although he made this disclosure, it was false in that he falsely described the nature of his

“financial interests” in Minu RX as “compensation in the form of royalties” when, in fact, the

true nature of his “financial interest” in Minu RX was that as a full fledged partner and the

payments were illegal kickbacks, in violation of 28 T.A.C. § 180.25 and V.T.C.A. § 102.001, not

“royalties.”

        176.   Based upon Dr. Mohamed’s knowing failure to comply with the above described

disclosure requirements, pursuant to V.T.C.A. Labor Code §§ 413.041(a)-(c) and 418.001(2), as

well as 28 T.A.C. §§ 180.24(c)(1) and (c)(2), Dr. Mohamed had no right to present a claim and

collect workers’ compensation benefits from Travelers or any other payor for any services that

he rendered on or after September 1, 2003, regardless whether the particular services were

subject to the disclosure requirement or whether the services were medically necessary. Yet, he

                                             64
knowingly did so and, as a result, Travelers was fraudulently induced to pay more than $490,000

to Dr. Mohamed, Advanced Rehab, Ortho Pain and the Pain Institute for such services.

        177.   Similarly, as of February 1, 2007, Dr. Cerday had a compensation arrangement

with Minu RX to which he made referrals for Compounds. Accordingly, Dr. Cerday had a

“financial interest” in Minu RX, within the meaning of 28 T.A.C. §§ 180.24(a)(2)(a) and/or

(a)(2)(b).

        178.   Dr. Cerday knowingly failed to disclose his “financial interests” in Minu RX,

despite his requirement to do so pursuant to V.T.C.A. Labor Code §§ 413.041(a)-(c) and

418.001(2), as well as 28 T.A.C. §§ 180.24(b)(1) and (b)(2).

        179.   Dr. Cerday was well aware of the disclosure obligations under V.T.C.A. Labor

Code §§ 413.041(a)-(c) and 418.001(2), as well as 28 T.A.C. §§ 180.24(b)(1) and (b)(2) because,

on February 21, 2003, he disclosed on the relevant form that had an employment relationship

with Medical Associates.

        180.   Based upon Dr. Cerday’s knowing failure to comply with the above described

disclosure requirements, pursuant to V.T.C.A. Labor Code §§ 413.041(a)-(c) and 418.001(2), as

well as 28 T.A.C. §§ 180.24(b)(1) and (b)(2), Dr. Cerday had no right to present a claim and

collect workers’ compensation benefits from Travelers or any other payor for any services

rendered on or after February 1, 2007, regardless whether the particular services were subject to

the disclosure requirement or whether the services were medically necessary. Yet, he knowingly

did so and, as a result, Travelers was fraudulently induced to pay more than $7,000 to Dr. Cerday

and Southwest Pain for such services.

V.      TRAVELERS’ JUSTIFIABLE RELIANCE

        181.   In each and every claim submitted to Travelers, the defendants knowingly have

made some or all of the following misrepresentations: (a) that the Nerve Blocks were medically

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necessary, (b) that the Nerve Blocks were performed, (c) that the billing codes and charges for

the Nerve Blocks were proper, (c) that the Shell Companies, as well as Inner Houston and

Wildwood, provided and were entitled to payment for any of the goods and services upon which

the facility fees were based for Nerve Blocks and other procedures performed by Drs. Mohamed

and Cerday, (d) that any of the Compounds were medically necessary and their medicines are

FDA approved for topical use, (e) that the charges for the Compounds were proper, (f) that Dr.

Mohamed had truthfully complied with his disclosure obligations pursuant to V.T.C.A. Labor

Code §§ 413.041(a)-(c) and 418.001(2), as well as 28 T.A.C. §§ 180.24(b)(1) and (b)(2), and

was therefore entitled to payment for any services after September 1, 2003, regardless of the

nature of the service or whether it was medically necessary, and (g) that Dr. Cerday had

truthfully complied with his disclosure obligations pursuant to V.T.C.A. Labor Code §§

413.041(a)-(c) and 418.001(2), as well as 28 T.A.C. §§ 180.24(b)(1) and (b)(2), and was

therefore entitled to payment for any services rendered on or after February 1, 2007, regardless

of the nature of the service or whether it was medically necessary.

        182.    As licensed professionals, Drs. Mohamed, Bayles, Cerday, Chowdhury,

McConnell, Moorehead, Pervez, Reyes, Roman, Shanti and Vidal, as well as Undavia, who

attested to the indication and necessity of the Nerve Blocks and/or Compounds, as well as the

accuracy and appropriateness of the charges, are obligated legally and ethically to act honestly,

with integrity, and in the best medical interest of their patients.

        183.    Travelers is under statutory and contractual obligations to promptly and fairly

process workers’ compensation claims within very tight deadlines. The facially valid documents

submitted to Travelers in support of the fraudulent charges at issue, including in the requests for

pre-authorization sent by Drs. Mohamed and Cerday, combined with the material

misrepresentations and affirmative acts of concealment described above, were designed to and

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did cause Travelers to justifiably rely on them. As a result, Travelers has incurred actual

damages of more than $4,200,000 million based upon the fraudulent charges.

       184.   Based upon the material misrepresentations and affirmative acts of concealment

described above, Travelers did not discover and should not have reasonably discovered that its

damages were attributable to fraud until shortly before it filed this Second Amended Complaint.

V.     CAUSES OF ACTION

                              FIRST CLAIM FOR RELIEF
                (Substantive Racketeering – 18 U.S.C. §§ 1962(c) and 1964)

       185.   Travelers incorporates, as if fully set forth herein, each and every allegation in

paragraphs 1 through 184 above.

       186.   Drs. Mohamed and Cerday, Stein Pain, Advanced Rehab, the Pain Institute,

Orthopedic Pain, the Alibhias, Mirage Ltd., Mirage TX, Oasis NV, Orange Grove Ltd., Orange

Grove TX, Orange Grove NV, Renaissance Ltd., Renaissance TX, Renaissance NV, Woodward,

Ltd., Woodward TX, Woodward NV, Boyd, Southwest Pain, Satex, Inner Houston and

Wildwood, are an association-in-fact “enterprise” (the “Fraudulent Claims Enterprise”), as that

term is defined in 18 U.S.C. § 1961(4), that engages in, and the activities of which affect,

interstate commerce.

       187.   The members of the Fraudulent Claims Enterprise are and have been associated

through time, joined in purpose and organized in a manner amenable to hierarchical and

consensual decision-making, with each member fulfilling a specific and necessary role to carry

out and facilitate common purposes, namely to fraudulently induce Travelers and other insurers

to pay: (a) for Nerve Blocks that were either medically unnecessary or never performed, (b)

charges relating to the Nerve Blocks that were improper because they were either duplicative,

unbundled or for related services that were never performed, regardless of whether the Nerve


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Blocks were medically necessary, (c) facility fees relating to all procedures performed by Drs.

Mohamed and Cerday in ASCs and hospitals, including Nerve Blocks, to the Shell Companies,

as well as Inner Houston and Wildwood, which had secret and illegal kickback arrangements

with ASCs and hospitals and did not provide the goods and services upon which the facility fees

were based, (d) charges for any services purportedly rendered by Dr. Mohamed on or after

September 1, 2003, despite his knowing failure to disclose his financial interests in health care

providers to which he made referrals, and (e) charges for any services purportedly rendered by

Dr. Cerday on or after February 1, 2007, despite his knowing failure to disclose his financial

interests in Minu RX to which he made referrals.

       188.   The planning and carrying out of the scheme would be beyond the capacity of

each member of the Fraudulent Claims Enterprise acting singly or without the aid of each other.

Together, the members of the enterprise comprised the structure, necessary to achieve their

common purposes. Specifically, Dr. Mohamed induced Travelers and other insurers to pre-

authorize medically unnecessary Nerve Block Injections and caused the submission of all of the

fraudulent charges at issue. The Alibhais, together with Dr. Mohamed, formed Mirage Ltd.,

Mirage TX, Oasis NV, Orange Grove Ltd., Orange Grove TX, Orange Grove NV, Renaissance

Ltd., Renaissance TX, Renaissance NV, Woodward, Ltd., Woodward TX, and Woodward, NV,

to enter into secret and illegal kickback arrangements with ASCs and hospitals. The purpose of

these arrangements was to enable Dr. Mohamed and the Alibhais to unlawfully profit from

facility fees for procedures purportedly performed by Drs. Mohamed at ASCs and hospitals,

including Nerve Blocks. Jonathan Boyd acted as the intermediary between the hospitals and

ASCs, and Dr. Mohamed, the Alibhais and the Shell Companies in negotiating the secret and

illegal kickback arrangements. Stein Pain, Advanced Rehab, Orthopedic Pain and the Pain

Institute were formed by Dr. Mohamed to submit the fraudulent procedure fees relating to the

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Nerve Blocks purportedly performed by Dr. Mohamed, as well as the fraudulent charges for all

other services that he purportedly rendered after September 1, 2003 despite his knowing failure

to disclose his financial interests in health care providers to which he made referrals. After Dr.

Mohamed was barred by the TWCC from participating in the workers’ compensation system, he

recruited Dr. Cerday to form Southwest Pain and to continue with exactly the same fraudulent

treatment and billing practices. Dr. Mohamed also recruited Boyd to form Satex to funnel the

proceeds of Dr. Cerday’s practices to Dr. Mohamed disguised as “consulting fees,” and to form

Inner Houston and Wildwood to continue through the secret and illegal kickback arrangements

with ASCs and hospitals to unlawfully profit from the fraudulent facility fees for procedures

purportedly performed by Dr. Cerday at those facilities.

       189.    The Fraudulent Claims Enterprise is distinct from and has an existence beyond the

pattern of racketeering activity described herein, namely by recruiting, employing, overseeing

and coordinating many professionals and non-professionals who have been responsible for

facilitating and performing a wide variety of administrative and professional functions in several

cities and states, beyond the acts of mail fraud (i.e. the submission of the fraudulent bills to

Travelers and other insurers), including the formation of numerous entities, the purchase and

lease of buildings and equipment necessary to provide a range of pain management medical

services, the recruitment and supervision of personnel to provide such services, the acquisition

and sale of undisclosed ownership interests in hospitals and ASCs, the negotiation and execution

of secret “use” agreements with hospitals and ASCs, the bookkeeping and accounting functions

necessary to manage the receipts and disbursements relating to the overall operations, and

arrangements with lawyers, accountants and others whose services were necessary to support all

of these functions.



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       190.    Drs. Mohamed and Cerday, Stein Pain, Advanced Rehab, the Pain Institute,

Orthopedic Pain, the Alibhias, Mirage Ltd., Mirage TX, Oasis NV, Orange Grove Ltd., Orange

Grove TX, Orange Grove NV, Renaissance Ltd., Renaissance TX, Renaissance NV, Woodward,

Ltd., Woodward TX, Woodward NV, Boyd, Southwest Pain, Satex, Inner Houston and

Wildwood are or have been employed by and/or associated with the Fraudulent Claims

Enterprise.   Furthermore, they have knowingly conducted and/or participated, directly or

indirectly, in the conduct of the Fraudulent Claims Enterprise’s affairs through a pattern of

racketeering activity consisting of repeated violations of the federal mail fraud statute, 18 U.S.C.

§ 1341, based upon the use of the United States mails to submit or cause to be submitted to

Travelers and other insurers the fraudulent charges described, in part, in the chart attached hereto

as Ex. K. Each such mailing was made in furtherance of the mail fraud scheme.

       191.    Travelers has been injured in its business and property by reason of this conduct

in that it has paid more than $2,000,000, consisting of payments made by Travelers: (a) to Drs.

Mohamed or Cerday, or Stein Pain, Advanced Rehab, Orthopedic Pain, the Pain Institute or

Southwest Pain for Nerve Blocks that were either medically unnecessary or never performed,

and/or improper charges relating to the Nerve Blocks, (b) to the Shell Companies, as well as

Inner Houston and Wildwood, for all facility fees relating to procedures performed by Drs.

Mohamed and Cerday in ASCs and hospitals, including Nerve Blocks, (c) to Dr. Mohamed,

Advanced Rehab, Orthopedic Pain, or the Pain Institute for any services purportedly rendered by

Dr. Mohamed on or after September 1, 2003, despite his knowing failure to disclose his financial

interests in health care providers to which he made referrals, and (d) to Dr. Cerday or Southwest

Pain for any services purportedly rendered by Dr. Cerday on or after February 1, 2007, despite

his knowing failure to disclose his financial interests in Minu RX to which he made referrals.



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       192.    Based upon the above-described material misrepresentations and affirmative acts

of concealment, Travelers did not discover and should not have reasonably discovered that its

damages were attributable to fraud until shortly before it filed this complaint.

       193.    Travelers is entitled to treble damages, pre-judgment and post-judgment interest,

costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the

Court deems just and proper.

                                SECOND CLAIM FOR RELIEF
                                 (Violation of 18 U.S.C. 1962(d))

       194.    Travelers incorporates, as if fully set forth herein, each and every allegation in

paragraphs 1 through 184 and 186-190 above.

       195.    All members of the Fraudulent Claims Enterprise, as well as Houston Community

Hospital Inc., have knowingly agreed and conspired to conduct and/or participate, directly or

indirectly, in the conduct of the Fraudulent Claims Enterprise’s affairs through a pattern of

racketeering activity consisting of repeated violations of the federal mail fraud statute, 18 U.S.C.

§ 1341, based upon the use of the United States mails to submit to Travelers and other insurers

hundreds of fraudulent claims as set forth in paragraph 190 above. The fraudulent bills and

corresponding mailings which comprise the pattern of racketeering activity identified through the

date of this Second Amended Complaint are described, in part, in Ex. K attached hereto.

       196.    Each member of the Fraudulent Claims Enterprise, as well as Houston

Community Hospital Inc., knew of, agreed to and acted in furtherance of the common and

overall objectives of the conspiracy by facilitating the submission to Travelers and other

insurance companies of the fraudulent charges at issue. Houston Community Hospital, Inc.

furthered the common and overall objective by agreeing, pursuant to the secret and illegal

kickback agreements described above, to allow Woodward Ltd. and Wildwood to unlawfully bill


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all non-governmental payors, including Travelers, for the facility fees relating to Nerve Blocks

and other procedures purportedly performed by Drs. Mohamed and Cerday. The roles of the

other defendants in furthering the common and overall objectives of the conspiracy are described

in paragraph 188 above.

       197.    Travelers has been injured in its business and property by reason of defendants’

above-described conduct in that it has paid more than $2,000,000 consisting of payments made

by Travelers: (a) to Drs. Mohamed or Cerday, or Stein Pain, Advanced Rehab, Orthopedic Pain,

the Pain Institute or Southwest Pain for Nerve Blocks that were either medically unnecessary or

never performed, and/or improper charges relating to the Nerve Blocks, (b) to the Shell

Companies, as well as Inner Houston and Wildwood, for all facility fees relating to procedures

performed by Drs. Mohamed and Cerday in ASCs and hospitals, including Nerve Blocks, (c) to

Dr. Mohamed, Advanced Rehab, Orthopedic Pain, or the Pain Institute for any services

purportedly rendered by Dr. Mohamed on or after September 1, 2003, despite his knowing

failure to disclose his financial interests in health care providers to which he made referrals, and

(d) to Dr. Cerday or Southwest Pain for any services purportedly rendered by Dr. Cerday on or

after February 1, 2007, despite his knowing failure to disclose his financial interests in Minu RX

to which he made referrals.

       198.    By reason of this injury, Travelers is entitled to treble damages, costs and

reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the Court deems

just and proper.

                                THIRD CLAIM FOR RELIEF
                                   (Common Law Fraud)

       199.    Travelers incorporates, as if fully set forth herein, each and every allegation in

paragraphs 1 through 184 above.


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       200.       In the claims set forth, in part, in the chart attached hereto as Ex. K, Drs.

Mohamed and Cerday, Stein Pain, Advanced Rehab, the Pain Institute, Orthopedic Pain, the

Alibhias, Mirage Ltd., Mirage TX, Oasis NV, Orange Grove Ltd., Orange Grove TX, Orange

Grove NV, Renaissance Ltd., Renaissance TX, Renaissance NV, Woodward, Ltd., Woodward

TX, Woodward, NV, Boyd, Southwest Pain, Satex, Inner Houston, and Wildwood, intentionally

and knowingly made or caused to be made false and fraudulent statements of material fact to

Travelers, namely that: (a) the Nerve Blocks were performed and medically unnecessary, (b) the

charges relating to the Nerve Blocks were proper and were not duplicative, unbundled or for

related services that were never performed, (c) Mirage Ltd., Orange Grove Ltd., Renaissance

Ltd., Woodward Ltd., Satex, Inner Houston and Wildwood provided the goods and services upon

which the facility fees were based for procedures purportedly performed by Drs. Mohamed and

Cerday in ASCs and hospitals, including Nerve Blocks, and were entitled to payment of such

fees, (d) Dr. Mohamed, Advanced Rehab, the Pain Institute or Orthopedic Pain were entitled to

charge and collect for any services that Dr. Mohamed purportedly rendered on or after

September 1, 2003, despite his knowing failure to disclose his financial interests in health care

providers to which he made referrals, and (e) Dr. Cerday and Southwest Pain were entitled to

charge and collect for any services that Dr. Cerday purportedly rendered on after February 1,

2007, despite his knowing failure to disclose his financial interests in Minu RX to which he

made referrals.

       201.       Drs. Mohamed and Cerday, Stein Pain, Advanced Rehab, the Pain Institute,

Orthopedic Pain, the Alibhias, Mirage Ltd., Mirage TX, Oasis NV, Orange Grove Ltd., Orange

Grove TX, Orange Grove NV, Renaissance Ltd., Renaissance TX, Renaissance NV, Woodward,

Ltd., Woodward TX, Woodward, NV, Boyd, Southwest Pain, Satex, Inner Houston, and



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Wildwood made or caused to be made these material, false, and fraudulent statements to induce

Travelers to pay the charges which were not, in fact, owed.

       202.    Travelers justifiably relied on the material, false, and fraudulent representations,

and as a direct and proximate result incurred damages of more than $2,000,000, consisting of

payments made by Travelers: (a) to Drs. Mohamed or Cerday, or Stein Pain, Advanced Rehab,

Orthopedic Pain, the Pain Institute or Southwest Pain for Nerve Blocks that were either

medically unnecessary or never performed, and/or improper charges relating to the Nerve

Blocks, (b) to the Shell Companies, as well as Inner Houston and Wildwood, for all facility fees

relating to procedures performed by Drs. Mohamed and Cerday in ASCs and hospitals, including

Nerve Blocks, (c) to Dr. Mohamed, Advanced Rehab, Orthopedic Pain, or the Pain Institute for

any services purportedly rendered by Dr. Mohamed on or after September 1, 2003, despite his

knowing failure to disclose his financial interests in health care providers to which he made

referrals, and (d) to Dr. Cerday or Southwest Pain for any services purportedly rendered by Dr.

Cerday on or after February 1, 2007, despite his knowing failure to disclose his financial

interests in Minu RX to which he made referrals.

       203.    Based upon Defendants’ material misrepresentations and affirmative acts to

conceal the fraud, Travelers did not discover and should not have reasonably discovered that its

damages were attributable to fraud until shortly before this complaint was filed.

       204.    Defendants’ extensive fraudulent conduct constitutes a high degree of moral

turpitude and wanton dishonesty, thus entitling Travelers to punitive damages.

       205.    Travelers is entitled to compensatory and punitive damages, pre-judgment and

post-judgment interest, and any other relief the Court deems just and proper.




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                               FOURTH CLAIM FOR RELIEF
                              (Common Law Fraud Conspiracy)

       206.    Travelers incorporates, as if fully set forth herein, each and every allegation in

paragraphs 1 through 184 above.

       207.    In the claims set forth, in part, in the chart attached hereto as Ex. K, Drs.

Mohamed and Cerday, Stein Pain, Advanced Rehab, the Pain Institute, Orthopedic Pain, the

Alibhias, Mirage Ltd., Mirage TX, Oasis NV, Orange Grove Ltd., Orange Grove TX, Orange

Grove NV, Woodward, Ltd., Woodward TX, Woodward, NV, Boyd, Southwest Pain, Satex,

Inner Houston, Wildwood, and Houston Community Hospital, Inc. conspired and agreed to

intentionally and knowingly make or cause to be made false and fraudulent statements of

material fact to Travelers, namely that: (a) the Nerve Blocks were performed and medically

unnecessary, (b) the charges relating to the Nerve Blocks were proper and were not duplicative,

unbundled or for related services that were never performed, (c) Mirage Ltd., Orange Grove Ltd.,

Renaissance Ltd., Woodward Ltd., Satex, Inner Houston and Wildwood provided the goods and

services upon which the facility fees were based for procedures purportedly performed by Drs.

Mohamed and Cerday in ASCs and hospitals, including Nerve Block Injections, and were

entitled to payment of such fees, (d) Dr. Mohamed, Advanced Rehab, the Pain Institute or

Orthopedic Pain were entitled to charge and collect for any services that Dr. Mohamed

purportedly rendered after September 1, 2003, despite his knowing failure to disclose his

financial interests in health care providers to which he made referrals, and (e) Dr. Cerday and

Southwest Pain were entitled to charge and collect for any services that Dr. Cerday purportedly

rendered after February 1, 2007, despite his knowing failure to disclose his financial interests in

health care providers to which he made referrals.




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       208.   Defendants conspired, agreed and had a meeting of the minds on a common

object and course of action, namely to induce Travelers and other insurers to pay charges for the

performance of and facility fees relating to Nerve Blocks and other procedures purportedly

performed by Drs. Mohamed and Cerday, as well as other services purportedly rendered by Drs.

Mohamed and Cerday during their non-compliance with the financial interest reporting

requirements, which were not owed, by making, and causing to be made, the above-described

material, false, and fraudulent statements. Defendants intended and had reason to expect that

Travelers and other insurers would rely on the above-described fraudulent statements by paying

such charges which were not owed.

       209.   Travelers justifiably relied on the material, false, and fraudulent representations,

and as a direct and proximate result incurred damages of more than $2,000,000, consisting of

payments made by Travelers: (a) to Drs. Mohamed or Cerday, or Stein Pain, Advanced Rehab,

Orthopedic Pain, the Pain Institute or Southwest Pain for Nerve Blocks that were either

medically unnecessary or never performed, and/or improper charges relating to the Nerve

Blocks, (b) to the Shell Companies, as well as Inner Houston and Wildwood, for all facility fees

relating to procedures performed by Drs. Mohamed and Cerday in ASCs and hospitals, including

Nerve Blocks, (c) to Dr. Mohamed, Advanced Rehab, Orthopedic Pain, or the Pain Institute for

any services purportedly rendered by Dr. Mohamed on or after September 1, 2003, despite his

knowing failure to disclose his financial interests in health care providers to which he made

referrals, and (d) to Dr. Cerday or Southwest Pain for any services purportedly rendered by Dr.

Cerday on or after February 1, 2007, despite his knowing failure to disclose his financial

interests in Minu RX to which he made referrals.




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       210.    Based upon Defendants’ material misrepresentations and affirmative acts to

conceal the fraud, Travelers did not discover and should not have reasonably discovered that its

damages were attributable to fraud until shortly before this complaint was filed.

       211.    Defendants’ extensive fraudulent conduct constitutes a high degree of moral

turpitude and wanton dishonesty, thus entitling Travelers to punitive damages.

       212.    Travelers is entitled to compensatory and punitive damages, pre-judgment and

post-judgment interest, and any other relief the Court deems just and proper.

                               FIFTH CLAIM FOR RELIEF
                 (Substantive Racketeering – 18 U.S.C. §§ 1962(c) and 1964)

       213.    Travelers incorporates, as if fully set forth herein, each and every allegation in

paragraphs 1 through 184 above.

       214.    Minu RX, Ltd and its predecessor Minu RX, Inc. are and always have been an

“enterprise” (the “Minu RX Enterprise”), as that term is defined in 18 U.S.C. § 1961(4), that

engages in, and the activities of which affect, interstate commerce. Although the form of the

entity was converted from a corporation to a limited partnership, the Minu RX Enterprise has

always been a legal entity in one form or the other.

       215.    Dr. Mohamed, Undavia and Minu GP, LLC are or have been employed by and/or

associated with the Minu RX Enterprise. Specifically, Dr. Mohamed has issued thousands of

prescriptions for medically unnecessary Compounds to facilitate fraudulent charges from the

Minu RX Enterprise to Travelers and other insurers. Furthermore, Dr. Mohamed and Undavia

are and have been full fledged partners in the Minu RX Enterprise, disguising millions of dollars

in kickbacks to Dr. Mohamed and other doctors as “royalties,” “Medical Consultant,” “Medical

Director,” or “Recruiting Assistance” payments to induce prescriptions for medically

unnecessary Compounds. As the general partner of Minu RX, Minu GP LLC has caused,


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benefited from and is responsible for the entire pattern of racketeering activity that has been

committed through the Minu RX Enterprise.

       216.    The Minu RX Enterprise is distinct from and has an existence beyond the pattern

of racketeering activity described herein, namely it is a formal legal entity with a structure in

place to coordinate and oversee a full-service pharmacy, including recruiting, employing, and

coordinating pharmacists and non-pharmacists who have been responsible for facilitating and

performing a wide variety of administrative and professional functions beyond the acts of mail

fraud (i.e. the submission of the fraudulent bills and letter of medical necessity to Travelers and

other insurers for medically unnecessary Compounds), including the lease of buildings and

equipment necessary to provide a range of pharmaceutical services and products other than

Compounds, the recruitment and supervision of personnel to provide such services, bookkeeping

and accounting functions necessary to manage the receipts and disbursements relating to the

overall operations, and arrangements with lawyers, accountants and others whose services were

necessary to support all of these functions.

       217.    Dr. Mohamed, Undavia and Minu GP, LLC are or have been employed by and/or

associated with the Minu RX Enterprise, and have knowingly conducted and/or participated,

directly or indirectly, in the conduct of the Minu RX Enterprise’s affairs through a pattern of

racketeering activity consisting of repeated violations of the federal mail fraud statute, 18 U.S.C.

§ 1341, based upon the use of the United States mails to submit or cause to be submitted to

Travelers and other insurers thousands of fraudulent charges for medically unnecessary

Compounds which were supported by letters of medically necessary, falsely representing that the

Compounds were medically necessary and that their medicines were FDA approved, when, in

fact, the Compounds were not medically necessary or FDA approved for any use, and many of

their medicines have never been FDA approved for topical use, among other things, as set forth,

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in part, in the chart attached hereto as Ex. U. Each such mailing was made in furtherance of the

mail fraud scheme.

       218.    Travelers has been injured in its business and property by reason of this conduct

in that it has paid Minu RX more than $2,200,000 for medically unnecessary Compounds.

       219.    Based upon the above-described material misrepresentations and affirmative acts

of concealment, Travelers did not discover and should not have reasonably discovered that its

damages were attributable to fraud until shortly before it filed this complaint.

       220.    Travelers is entitled to treble damages, pre-judgment and post-judgment interest,

costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the

Court deems just and proper.

                                 SIXTH CLAIM FOR RELIEF
                                 (Violation of 18 U.S.C. 1962(d))

       221.    Travelers incorporates, as if fully set forth herein, each and every allegation in

paragraphs 1 through 184 and 214 through 216 above.

       222.    Dr. Mohamed, Undavia, Minu GP, LLC, the Alibhais, NC Consulting, New

Frontier NV, the Pain Institute, and Drs. Cerday, Bayles, Chowdhury, McConnell, Moorehead,

Pervez, Reyes, Roman, Shanti and Vidal, have knowingly agreed and conspired to conduct

and/or participate, directly or indirectly, in the conduct of the Minu RX Enterprise’s affairs

through a pattern of racketeering activity consisting of repeated violations of the federal mail

fraud statute, 18 U.S.C. § 1341, based upon the use of the United States mails to submit to

Travelers and other insurers thousands of fraudulent claims as set forth in paragraph 217 above.

The fraudulent bills and corresponding mailings which comprise the pattern of racketeering

activity identified through the date of this Second Amended Complaint are described, in part, in

Ex. U attached hereto.


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       223.   Dr. Mohamed, Undavia, Minu GP, LLC, the Alibhais, NC Consulting, Frontier

NV, the Pain Institute, and Drs. Cerday, Bayles, Chowdhury, McConnell, Moorehead, Pervez,

Reyes, Roman, Shanti and Vidal, knew of, agreed to and acted in furtherance of the common and

overall objectives of the conspiracy by facilitating the submission to Travelers and other

insurance companies of the fraudulent charges at issue. Specifically, Drs. Mohamed, Cerday,

Bayles, Chowdhury, McConnell, Moorehead, Pervez, Reyes, Roman, Shanti and Vidal have

issued thousands of prescriptions for medically unnecessary Compounds to facilitate fraudulent

charges from the Minu RX Enterprise to Travelers and other insurers. Dr. Mohamed and

Undavia are and have been full fledged partners in the Minu RX Enterprise, and working

together with the Alibhais, they have disguised millions of dollars in kickbacks to Dr. Mohamed

as “royalties.” Dr. Mohamed and Undavia also have induced Drs. Cerday, Bayles, Chowdhury,

Moorehead, Shanti and, on information and belief, McConnell, Pervez, Reyes, Roman and Vidal,

as well as other doctors, to issue prescriptions for thousands of medically unnecessary

Compounds through secret and illegal kickbacks which have been often disguised as “royalties,”

or “Medical Consultant,” “Medical Director,” and “Recruiting Assistance” payments. As the

general partner of Minu RX, Minu GP LLC has caused, benefited from and is responsible for the

entire pattern of racketeering activity that has been committed through the Minu RX Enterprise.

NC Consulting, New Frontiers NV and the Pain Institute actively served as the “fronts” and

conduits through which Dr. Mohamed, Undavia and the Alibhais funneled millions of dollars in

kickbacks from the Minu RX Enterprise to Dr. Mohamed under the guise of “royalties.”

       224.   Travelers has been injured in its business and property by reason of defendants’

above-described conduct in that it has paid Minu RX more than $ 2,200,000 for medically

unnecessary Compounds.



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       225.    By reason of this injury, Travelers is entitled to treble damages, costs and

reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c), and any other relief the Court deems

just and proper.

                              SEVENTH CLAIM FOR RELIEF
                                  (Common Law Fraud)

       226.    Travelers incorporates, as if fully set forth herein, each and every allegation in

paragraphs 1 through 184 above.

       227.    In the claims set forth in the chart attached hereto as Ex. U, Dr. Mohamed,

Undavia, Minu RX, Ltd. and Minu GP, LLC, intentionally and knowingly made or caused to be

made false and fraudulent statements of material fact to Travelers, namely that the Compounds

were medically necessary and that their medicines were FDA approved, when, in fact, the

Compounds were not medically necessary or FDA approved for any use, and many of their

medicines have never been FDA approved for topical use, among other things. Furthermore, the

defendants intentionally omitted to inform Travelers regarding Dr. Mohamed’s secret interest in

Minu RX, that millions of dollars in kickbacks disguised as “royalties” were being funneled

through NC Consulting, New Frontiers NV and possibly other entities to Dr. Mohamed, and that

doctors, were being induced to issue prescriptions for thousands of medically unnecessary

Compounds through secret and illegal kickbacks often disguised as “royalties,” “Medical

Consultant,” “Medical Director,” or “Recruiting Assistance” payments.

       228.    Dr. Mohamed, Undavia, Minu RX, Ltd. and Minu GP, LLC made or caused to be

made these material, false, and fraudulent statements and omissions to induce Travelers to pay

the charges which were not, in fact, owed.




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       229.    Travelers justifiably relied on the material, false, and fraudulent representations,

and as a direct and proximate result incurred damages of more than $2,200,000 through

payments to Minu RX for medically unnecessary Compounds.

       230.    Based upon Defendants’ material misrepresentations and affirmative acts to

conceal the fraud, Travelers did not discover and should not have reasonably discovered that its

damages were attributable to fraud until shortly before this complaint was filed.

       231.    Defendants’ extensive fraudulent conduct constitutes a high degree of moral

turpitude and wanton dishonesty, thus entitling Travelers to punitive damages.

       232.    Travelers is entitled to compensatory and punitive damages, pre-judgment and

post-judgment interest, and any other relief the Court deems just and proper.

                               EIGHTH CLAIM FOR RELIEF
                              (Common Law Fraud Conspiracy)

       233.    Travelers incorporates, as if fully set forth herein, each and every allegation in

paragraphs 1 through 184.

       234.    In the claims set forth in the chart attached hereto as Ex. U, Dr. Mohamed,

Undavia, Minu RX, Ltd., Minu GP, LLC, Drs. Cerday, Bayles, Chowdhury, McConnell,

Moorehead, Pervez, Reyes, Roman, Shanti and Vidal, the Alibhais, NC Consulting, New

Frontier NV, and the Pain Institute conspired and agreed to intentionally and knowingly make or

cause to be made false and fraudulent statements of material fact to Travelers, namely that the

Compounds were medically necessary and that their medicines were FDA approved, when, in

fact, the Compounds were not medically necessary or FDA approved for any use, and many of

their medicines have never been FDA approved for topical use, among other things.

Furthermore, the defendants intentionally omitted to inform Travelers regarding Dr. Mohamed’s

secret interest in Minu RX and that millions of dollars in kickbacks disguised as “royalties” were


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being funneled through NC Consulting, New Frontiers NV, the Pain Institute and possibly other

entities to Dr. Mohamed, and that Drs. Cerday, Bayles, Chowdhury, Moorehead, Shanti and, on

information and belief, McConnell, Pervez, Reyes, Roman and Vidal, as well as other doctors,

were being induced to issue prescriptions for thousands of medically unnecessary Compounds

through secret and illegal kickbacks often disguised as “royalties,” or “Medical Consultant,”

“Medical Director,” and “Recruiting Assistance” payments.

       235.    Dr. Mohamed, Undavia, Minu RX, Ltd., Minu GP, LLC, Drs. Cerday, Bayles,

Chowdhury, McConnell, Moorehead, Pervez, Reyes, Roman, Shanti and Vidal, the Alibhais, NC

Consulting, New Frontier NV, and the Pain Institute conspired, agreed and had a meeting of the

minds on a common object and course of action, namely to induce Travelers and other insurers

to pay for Compounds which were not owed, by making, and causing to be made, the above-

described material, false, and fraudulent statements. Defendants intended and had reason to

expect that Travelers and other insurers would rely on the above-described fraudulent statements

by paying charges for Compounds which were not owed.

       236.    Travelers justifiably relied on the material, false, and fraudulent representations,

and as a direct and proximate result incurred damages of more than $2,200,000 through

payments to Minu RX for medically unnecessary Compounds.

       237.    Based upon Defendants’ material misrepresentations and affirmative acts to

conceal the fraud, Travelers did not discover and should not have reasonably discovered that its

damages were attributable to fraud until shortly before this complaint was filed.

       238.    Defendants’ extensive fraudulent conduct constitutes a high degree of moral

turpitude and wanton dishonesty, thus entitling Travelers to punitive damages.

       239.    Travelers is entitled to compensatory and punitive damages, pre-judgment and

post-judgment interest, and any other relief the Court deems just and proper

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        WHEREFORE, Travelers prays for judgment in its favor and respectfully requests that

this Court:

        A.    enter a judgment in favor of Travelers on its First Claim for Relief against

Defendants Drs. Mohamed and Cerday, Stein Pain, Advanced Rehab, the Pain Institute,

Orthopedic Pain, the Alibhias, Mirage Ltd., Mirage TX, Oasis NV, Orange Grove Ltd., Orange

Grove TX, Orange Grove NV, Renaissance Ltd., Renaissance TX, Renaissance NV, Woodward,

Ltd., Woodward TX, Woodward, NV, Boyd, Southwest Pain, Satex, Inner Houston and

Wildwood for compensatory damages in amount of more than $2,000,000, together with treble

damages, costs and reasonable attorneys fees pursuant to 18 U.S.C. §§ 1962(c) and 1964(c) plus

interest;

        B.    enter a judgment in favor of Travelers on its Second Claim for Relief against

Defendants Drs. Mohamed and Cerday, Stein Pain, Advanced Rehab, the Pain Institute,

Orthopedic Pain, the Alibhias, Mirage Ltd., Mirage TX, Oasis NV, Orange Grove Ltd., Orange

Grove TX, Orange Grove NV, Renaissance Ltd., Renaissance TX, Renaissance NV, Woodward,

Ltd., Woodward TX, Woodward, NV, Boyd, Southwest Pain, Satex, Inner Houston, Wildwood,

and Houston Community Hospital, Inc., for compensatory damages in amount of more than

$2,000,000, together with treble damages, costs and reasonable attorneys fees pursuant to 18

U.S.C. §§ 1962(d) and 1964(c) plus interest;

        C.    enter a judgment in favor of Travelers on its on its Third Claim for Relief against

Defendants Drs. Mohamed and Cerday, Stein Pain, Advanced Rehab, the Pain Institute,

Orthopedic Pain, the Alibhias, Mirage Ltd., Mirage TX, Oasis NV, Orange Grove Ltd., Orange

Grove TX, Orange Grove NV, Renaissance Ltd., Renaissance TX, Renaissance NV, Woodward,

Ltd., Woodward TX, Woodward, NV, Boyd, Southwest Pain, Satex, Inner Houston and



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Wildwood, for compensatory damages in an amount of more than $2,000,000, together with

punitive damages and interest pursuant to Texas common law;

       D.     enter a judgment in favor of Travelers on its on its Fourth Claim for Relief against

Defendants Drs. Mohamed and Cerday, Stein Pain, Advanced Rehab, the Pain Institute,

Orthopedic Pain, the Alibhias, Mirage Ltd., Mirage TX, Oasis NV, Orange Grove Ltd., Orange

Grove TX, Orange Grove NV, Renaissance Ltd., Renaissance TX, Renaissance NV, Woodward,

Ltd., Woodward TX, Woodward, NV, Boyd, Southwest Pain, Satex, Inner Houston, Wildwood,

and Houston Community Hospital, Inc. for compensatory damages in an amount of more than

$2,000,000, together with punitive damages and interest pursuant to Texas common law;

       E.     enter a judgment in favor of Travelers on its Fifth Claim for Relief against

Defendants Dr. Mohamed, Undavia, and Minu GP, LLC, for compensatory damages in amount

of more than $2,200,000, together with treble damages, costs and reasonable attorneys fees

pursuant to 18 U.S.C. §§ 1962(c) and 1964(c) plus interest;

       F.     enter a judgment in favor of Travelers on its Sixth Claim for Relief against

Defendants Dr. Mohamed, Undavia, Minu GP, LLC, Drs. Cerday, Bayles, Chowdhury,

McConnell, Moorehead, Pervez, Reyes, Roman, Shanti and Vidal, the Alibhais, NC Consulting,

New Frontiers NV, and the Pain Institute for compensatory damages in amount of more than

$2,200,000, together with treble damages, costs and reasonable attorneys fees pursuant to 18

U.S.C. §§ 1962(d) and 1964(c) plus interest;

       G.     enter a judgment in favor of Travelers on its on its Seventh Claim for Relief

against Defendants Dr. Mohamed, Undavia, Minu RX, Ltd. and Minu GP, LLC for

compensatory damages in an amount of more than $2,200,000, together with punitive damages

and interest pursuant to Texas common law;



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       H.     enter a judgment in favor of Travelers on its on its Eighth Claim for Relief against

Defendants Dr. Mohamed, Undavia, Minu RX, Ltd., Minu GP, LLC, Drs. Cerday, Bayles,

Chowdhury, McConnell, Moorehead, Pervez, Reyes, Roman, Shanti and Vidal, the Alibhais, NC

Consulting, New Frontiers NV and the Pain Institute for compensatory damages in an amount of

more than $2,200,000, together with punitive damages and interest pursuant to Texas common

law;

       I.     grant Travelers such other and further relief to which it may be entitled.

                                           JURY DEMAND

       Plaintiff hereby demands a trial by jury.

Dated: November 30, 2007                     Respectfully submitted,


                                             By: ___/s/ Ross O. Silverman________________
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